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 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

                Western District of Texas

 Case number (If known):                           Chapter you are filing under:
                                                   ✔
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                          ❑ Check if this is an
                                                           Chapter 12
                                                   ❑       Chapter 13
                                                                                                                                             amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          06/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name

       Write the name that is on your          Clifton
       government-issued picture              First name                                                      First name
       identification (for example, your
                                               Monroe
       driver’s license or passport).
                                              Middle name                                                     Middle name
       Bring your picture identification       Mitchell
       to your meeting with the trustee.      Last name                                                       Last name


                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have
       used in the last 8 years
                                              First name                                                      First name
       Include your married or maiden
       names.                                 Middle name                                                     Middle name


                                              Last name                                                       Last name




                                              First name                                                      First name


                                              Middle name                                                     Middle name


                                              Last name                                                       Last name




  3.   Only the last 4 digits of your
                                              xxx - xx - 5           9    9   2                               xxx - xx -
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number                  9xx - xx -                                                      9xx - xx -
       (ITIN)




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
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 Debtor 1            Clifton             Monroe                       Mitchell                                       Case number (if known)
                     First Name          Middle Name                  Last Name


                                          About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):


  4.   Any business names and
       Employer Identification
                                          ✔ I have not used any business names or EINs.
                                          ❑                                                                ❑ I have not used any business names or EINs.
       Numbers (EIN) you have used
       in the last 8 years
                                          Business name                                                    Business name
       Include trade names and doing
       business as names
                                          Business name                                                    Business name


                                                       -                                                                -
                                          EIN                                                              EIN


                                                       -                                                                -
                                          EIN                                                              EIN




                                                                                                           If Debtor 2 lives at a different address:
  5.   Where you live
                                          Casa Bonita 4A, Playa Bonita
                                          Number             Street                                        Number           Street




                                          Arraijan, Republic of Panama,
                                          City                                    State    ZIP Code        City                                  State      ZIP Code



                                          County                                                           County

                                          If your mailing address is different from the one above,         If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to    it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                     at this mailing address.

                                          10722 River Plantation Dr
                                          Number             Street                                        Number           Street



                                          P.O. Box                                                         P.O. Box

                                          Austin, TX 78747-1481
                                          City                                    State    ZIP Code        City                                  State      ZIP Code




  6.   Why you are choosing this          Check one:                                                       Check one:
       district to file for bankruptcy
                                          ❑      Over the last 180 days before filing this petition, I     ❑      Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other             have lived in this district longer than in any other
                                                 district.                                                        district.

                                          ✔
                                          ❑      I have another reason. Explain.                           ❑      I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                           (See 28 U.S.C. § 1408)

                                                   Debtor currently lives in Panama. Last residence

                                                   in the United States was 10306 Broomflower Dr.,

                                                   Austin, TX 78739.




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 Debtor 1           Clifton            Monroe                  Mitchell                                       Case number (if known)
                    First Name         Middle Name             Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ✔
                                       ❑     Chapter 7
                                       ❑     Chapter 11
                                       ❑     Chapter 12
                                       ❑     Chapter 13



  8.   How you will pay the fee        ✔
                                       ❑   I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                           details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                           check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                           a credit card or check with a pre-printed address.

                                       ❑   I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                           to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑   I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                           judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                           official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                           choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                           103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes.
       within the last 8 years?
                                                 District                                      When                         Case number
                                                                                                      MM / DD / YYYY

                                                 District                                      When                         Case number
                                                                                                      MM / DD / YYYY

                                                 District                                      When                         Case number
                                                                                                      MM / DD / YYYY




  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes.
       pending or being filed by a
       spouse who is not filing this             Debtor                                                                 Relationship to you
       case with you, or by a
       business partner, or by an                District                                  When                         Case number, if known
       affiliate?                                                                                 MM / DD / YYYY


                                                 Debtor                                                                 Relationship to you

                                                 District                                  When                         Case number, if known
                                                                                                  MM / DD / YYYY




  11. Do you rent your residence?      ✔
                                       ❑   No.    Go to line 12.

                                       ❑   Yes. Has your landlord obtained an eviction judgment against you?

                                                  ❑    No. Go to line 12.

                                                  ❑    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                       as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 3
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 Debtor 1           Clifton                Monroe                   Mitchell                                       Case number (if known)
                    First Name             Middle Name              Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ✔
                                           ❑   No. Go to Part 4.

                                           ❑
      any full- or part-time
      business?                                Yes. Name and location of business

      A sole proprietorship is a
      business you operate as an               Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.        Number          Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.                                City                                                 State           ZIP Code

                                               Check the appropriate box to describe your business:

                                               ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                               ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                               ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                               ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                               ❑      None of the above



  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      11 of the Bankruptcy Code,           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
      and are you a small business         debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
      debtor or a debtor as defined        of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      by 11 U.S. C. § 1182(1)?             procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔
                                           ❑   No.        I am not filing under Chapter 11.

                                           ❑
      debtor, see 11 U.S.C. §
      101(51D).                                No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                          Bankruptcy Code.

                                           ❑   Yes.       I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                          Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑   Yes.       I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy
                                                          Code, and I choose to proceed under Subchapter V of Chapter 11.




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 Debtor 1           Clifton             Monroe                  Mitchell                                     Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔
                                        ❑   No.

                                        ❑
      property that poses or is
      alleged to pose a threat of           Yes.   What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                   If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                   Where is the property?
                                                                              Number        Street




                                                                              City                                          State     ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 5
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 Debtor 1           Clifton             Monroe                     Mitchell                                            Case number (if known)
                    First Name          Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                                   You must check one:
      receive a briefing about credit
      counseling before you file for
                                        ✔
                                        ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully        agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      check one of the following             petition, and I received a certificate of completion.                 petition, and I received a certificate of completion.
      choices. If you cannot do so,          Attach a copy of the certificate and the payment plan, if any,        Attach a copy of the certificate and the payment plan, if any,
      you are not eligible to file.          that you developed with the agency.                                   that you developed with the agency.

      If you file anyway, the court     ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      can dismiss your case, you will        agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      lose whatever filing fee you           petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      paid, and your creditors can           Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      begin collection activities            MUST file a copy of the certificate and payment plan, if any.         MUST file a copy of the certificate and payment plan, if any.

                                        ❑                                                                     ❑
      again.
                                             I certify that I asked for credit counseling services from an         I certify that I asked for credit counseling services from an
                                             approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                             during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                             circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                             requirement.                                                          requirement.
                                             To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                             attach a separate sheet explaining what efforts you made to           attach a separate sheet explaining what efforts you made to
                                             obtain the briefing, why you were unable to obtain it before          obtain the briefing, why you were unable to obtain it before
                                             you filed for bankruptcy, and what exigent circumstances              you filed for bankruptcy, and what exigent circumstances
                                             required you to file this case.                                       required you to file this case.

                                             Your case may be dismissed if the court is dissatisfied with          Your case may be dismissed if the court is dissatisfied with
                                             your reasons for not receiving a briefing before you filed for        your reasons for not receiving a briefing before you filed for
                                             bankruptcy.                                                           bankruptcy.

                                             If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                             receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency, along           You must file a certificate from the approved agency, along
                                             with a copy of the payment plan you developed, if any. If you         with a copy of the payment plan you developed, if any. If you
                                             do not do so, your case may be dismissed.                             do not do so, your case may be dismissed.

                                             Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                             cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                        ❑    I am not required to receive a briefing about credit             ❑    I am not required to receive a briefing about credit
                                             counseling because of:                                                counseling because of:
                                             ❑    Incapacity. I have a mental illness or a mental                  ❑    Incapacity. I have a mental illness or a mental
                                                              deficiency that makes me incapable of                                 deficiency that makes me incapable of
                                                              realizing or making rational decisions                                realizing or making rational decisions
                                                              about finances.                                                       about finances.
                                             ❑    Disability.   My physical disability causes me to be             ❑    Disability.   My physical disability causes me to be
                                                                unable to participate in a briefing in                                unable to participate in a briefing in
                                                                person, by phone, or through the                                      person, by phone, or through the
                                                                internet, even after I reasonably tried to                            internet, even after I reasonably tried to
                                                                do so.                                                                do so.
                                             ❑    Active duty. I am currently on active military duty in           ❑    Active duty. I am currently on active military duty in
                                                               a military combat zone.                                               a military combat zone.

                                             If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                             about credit counseling, you must file a motion for waiver of         about credit counseling, you must file a motion for waiver of
                                             credit counseling with the court.                                     credit counseling with the court.




Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                                               page 6
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 Debtor 1           Clifton               Monroe                   Mitchell                                         Case number (if known)
                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                       “incurred by an individual primarily for a personal, family, or household purpose.”
                                                   ✔
                                                   ❑     No. Go to line 16b.
                                                   ❑     Yes. Go to line 17.

                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                  for a business or investment or through the operation of the business or investment.
                                                   ❑     No. Go to line 16c.
                                                   ✔
                                                   ❑     Yes. Go to line 17.

                                             16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?        ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any
                                             ✔
                                             ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ✔
                                                           ❑    No
      paid that funds will be available                    ❑    Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you               ✔
                                              ❑    1-49         ❑     1,000-5,000         ❑    25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                  ❑    50-99        ❑     5,001-10,000
                                              ❑    100-199      ❑     10,001-25,000
                                              ❑    200-999


  19. How much do you estimate your           ❑    $0-$50,000                      ❑    $1,000,001-$10 million                ❑     $500,000,001-$1 billion
      assets to be worth?                     ❑    $50,001-$100,000                ❑    $10,000,001-$50 million               ❑     $1,000,000,001-$10 billion
                                              ✔
                                              ❑    $100,001-$500,000               ❑    $50,000,001-$100 million              ❑     $10,000,000,001-$50 billion
                                              ❑    $500,001-$1 million             ❑    $100,000,001-$500 million             ❑     More than $50 billion


  20. How much do you estimate your           ❑    $0-$50,000                      ✔
                                                                                   ❑    $1,000,001-$10 million                ❑     $500,000,001-$1 billion
      liabilities to be?                      ❑    $50,001-$100,000                ❑    $10,000,001-$50 million               ❑     $1,000,000,001-$10 billion
                                              ❑    $100,001-$500,000               ❑    $50,000,001-$100 million              ❑     $10,000,000,001-$50 billion
                                              ❑    $500,001-$1 million             ❑    $100,000,001-$500 million             ❑     More than $50 billion

 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Clifton Monroe Mitchell
                                       Clifton Monroe Mitchell, Debtor 1
                                       Executed on 06/30/2022
                                                        MM/ DD/ YYYY




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 Debtor 1           Clifton                 Monroe                  Mitchell                                       Case number (if known)
                    First Name              Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ /s/ Michael Baumer                                                   Date 06/30/2022
                                                   Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                  Michael Baumer
                                                  Printed name

                                                  Law Office of Michael Baumer
                                                  Firm name

                                                  P.O. Box 1818
                                                  Number       Street



                                                  Liberty Hill                                                     TX      78642-1818
                                                  City                                                             State   ZIP Code



                                                  Contact phone (512) 476-8707                       Email address Michael@baumerlaw.com


                                                  01931920                                                         TX
                                                  Bar number                                                       State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 8
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 Fill in this information to identify your case and this filing:

  Debtor 1                       Clifton                     Monroe                   Mitchell
                                 First Name                 Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)            First Name                 Middle Name              Last Name

  United States Bankruptcy Court for the:                                      Western District of Texas
                                                                                                                                                                     ❑      Check if this is an
  Case number                                                                                                                                                               amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                              12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where
you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ✔ No. Go to Part 2.
      ❑
      ❑ Yes. Where is the property?
                                                                        What is the property? Check all that apply.                              Do not deduct secured claims or exemptions. Put the
             Street address, if available, or other description
                                                                        ❑ Single-family home                                                     amount of any secured claims on Schedule D: Creditors

                                                                        ❑ Duplex or multi-unit building
                                                                                                                                                 Who Have Claims Secured by Property.

                                                                        ❑ Condominium or cooperative                                           Current value of the           Current value of the
                                                                        ❑ Manufactured or mobile home                                          entire property?               portion you own?

             City                             State       ZIP Code      ❑ Land
                                                                        ❑ Investment property                                                  Describe the nature of your ownership interest
                                                                        ❑ Timeshare                                                            (such as fee simple, tenancy by the entireties, or a
                                                                        ❑ Other
             County
                                                                                                                                               life estate), if known.

                                                                        Who has an interest in the property? Check one.
                                                                        ❑ Debtor 1 only
                                                                        ❑ Debtor 2 only                                                        ❑ Check if this is community property
                                                                        ❑ Debtor 1 and Debtor 2 only                                               (see instructions)
                                                                        ❑ At least one of the debtors and another
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................       ➜                  $0.00




Official Form 106A/B                                                                            Schedule A/B: Property                                                                     page 1
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 Debtor 1                  Clifton                     Monroe                         Mitchell                                                      Case number (if known)
                           First Name                  Middle Name                    Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ❑ No
       ✔ Yes
       ❑
       3.1 Make:                                 Hyundai                Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put the

                                                 Tucson
                                                                        ✔ Debtor 1 only
                                                                        ❑                                                                          amount of any secured claims on Schedule D: Creditors

                                                                        ❑ Debtor 2 only
            Model:                                                                                                                                 Who Have Claims Secured by Property.


            Year:
                                                 2010                   ❑ Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the

                                                 91000                  ❑ At least one of the debtors and another                                 entire property?                 portion you own?
            Approximate mileage:                                                                                                                                   $9,725.00                   $9,725.00

            Other information:                                          ✔ Check if this is community property
                                                                        ❑
             sole management community property                              (see instructions)




      If you own or have more than one, list here:

       3.2 Make:                                 Vespa                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put the

                                                 PX150                  ❑ Debtor 1 only                                                            amount of any secured claims on Schedule D: Creditors

                                                                        ❑ Debtor 2 only
            Model:                                                                                                                                 Who Have Claims Secured by Property.


            Year:
                                                 2009                   ❑ Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                        ❑ At least one of the debtors and another                                 entire property?                 portion you own?
            Approximate mileage:                                                                                                                                   $3,000.00                       $0.00

            Other information:                                          ❑ Check if this is community property
             nonfiling spouse - separate property                            (see instructions)




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        ✔ No
        ❑
        ❑ Yes
 5.     Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
        you have attached for Part 2. Write that number here.........................................................................................................          ➜             $9,725.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                            Current value of the
                                                                                                                                                                               portion you own?
                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                               claims or exemptions.

 6. Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                             See Attached.
                                                                                                                                                                                               $4,720.00


Official Form 106A/B                                                                              Schedule A/B: Property                                                                      page 2
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 7. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe........
       ❑
                                             See Attached.                                                                                                                           $500.00



 8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       ✔ No
       ❑
       ❑ Yes. Describe........

 9. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe........
       ❑
                                             sporting goods                                                                                                                         $1,000.00



 10. Firearms
        Examples: Pistols, rifles, shotguns, ammunition, and related equipment

        ❑ No
        ✔ Yes. Describe........
        ❑
                                             See Attached.                                                                                                                           $400.00



 11.    Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                             See Attached.                                                                                                                          $1,900.00



 12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                  silver

        ❑ No
        ✔ Yes. Describe........
        ❑
                                             See Attached.                                                                                                                           $425.00



 13. Non-farm animals
        Examples: Dogs, cats, birds, horses
        ✔ No
        ❑
        ❑ Yes. Describe........

 14. Any other personal and household items you did not already list, including any health aids you did not list

        ✔ No
        ❑
        ❑ Yes. Describe........

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here........................................................................................................................................➜   $8,945.00




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 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                  Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                                               claims or exemptions.


 16. Cash
      Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      ❑ No
      ✔ Yes........................................................................................................................................................
      ❑                                                                                                                                                                Cash..............
                                                                                                                                                                                                            $230.00


 17. Deposits of money
      Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and
                other similar institutions. If you have multiple accounts with the same institution, list each.

      ❑ No
      ✔ Yes..................
      ❑
                                                         Institution name:



      17.1. Checking account:                             Chase checking 6924                                                                                                    $176.49


      17.2. Checking account:                             Truist checking 2106 - nonfiling spouse sole                                                                         unknown
                                                          management


      17.3. Savings account:                              Bank of America savings 3261 - nonfiling spouse                                                                      unknown
                                                          sole management


      17.4. Savings account:                              Truist business savings 4683 - nonfiling spouse sole                                                                 unknown
                                                          management He's For Me LLC


      17.5. Certificates of deposit:


      17.6. Other financial account:                      Lively HSA - nonfiling spouse                                                                                        unknown


      17.7. Other financial account:                      Venmo - nonfiling spouse sole management                                                                             unknown


      17.8. Other financial account:                      Paypal - nonfiling spouse sole management                                                                            unknown


      17.9. Other financial account:


 18. Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      ✔ No
      ❑
      ❑ Yes..................
      Institution or issuer name:




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                         page 4
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 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
     an LLC, partnership, and joint venture

      ❑ No
      ✔ Yes. Give specific
      ❑
            information about
            them...................
      Name of entity:                                                               % of ownership:


      Pantierra Inversiones, Corp 50% owned by Debtor and 50%                       50            %                       $0.50
      owned by nonfiling spouse


      SBQ Properties LLC - nonfiling spouse 100%                                    0             %                       $0.00


      Dawa Management LLC 100%                                                      100           %                       $1.00


      Raba Management LLC 50%                                                       50            %                       $0.50


      North America Holdings LLC 100%                                               100           %                       $1.00


      He's for Me LLC - nonfiling spouse 100%                                       0             %                       $0.00


 20. Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      ✔ No
      ❑
      ❑ Yes. Give specific
            information about
            them...................

      Issuer name:




 21. Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

      ❑ No
      ✔ Yes. List each
      ❑
            account separately.
      Type of account:                Institution name:

      IRA:                             Mutual of America IRA - nonfiling spouse                                      unknown


      401(k) or similar plan:          TexaSavers 401(k) - nonfiling spouse                                          unknown

 22. Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies,
      or others
      ✔ No
      ❑
      ❑ Yes.....................
                                 Institution name or individual:

      Electric:


Official Form 106A/B                                                          Schedule A/B: Property                                   page 5
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      Gas:


      Heating oil:


      Security deposit on rental unit:


      Prepaid rent:


      Telephone:


      Water:


      Rented furniture:


      Other:


 23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

      ✔ No
      ❑
      ❑ Yes.....................
      Issuer name and description:




 24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      ✔ No
      ❑
      ❑ Yes.....................
      Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):




 25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for
     your benefit

      ❑ No
      ✔ Yes. Give specific
      ❑                                  The Tammy Shaklee Trust - nonfiling spouse
            information about them....                                                                                                  unknown


 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      ✔ No
      ❑
      ❑ Yes. Give specific
            information about them....




Official Form 106A/B                                                        Schedule A/B: Property                                      page 6
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 27. Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                professional licenses
      ✔ No
      ❑
      ❑ Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                                Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.


 28. Tax refunds owed to you

      ✔ No
      ❑
      ❑ Yes. Give specific information about                                                                          Federal:
                 them, including whether you
                 already filed the returns and                                                                        State:
                 the tax years.......................
                                                                                                                      Local:



 29. Family support
      Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

      ✔ No
      ❑
      ❑ Yes. Give specific information..........                                                                      Alimony:

                                                                                                                      Maintenance:

                                                                                                                      Support:

                                                                                                                      Divorce settlement:

                                                                                                                      Property settlement:



 30. Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                Social Security benefits; unpaid loans you made to someone else

      ❑ No
      ✔ Yes. Give specific information..........
      ❑                                                   social security payments of $3820
                                                                                                                                                            unknown




 31. Interests in insurance policies
      Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

      ❑ No
      ✔ Yes. Name the insurance company
      ❑                                                     Company name:                                  Beneficiary:                      Surrender or refund value:
                 of each policy and list its value....
                                                            Texas Life Ins Co whole life policy            spouse                                          $146,485.00




                                                            Protective Life Ins Co term policy -
                                                            nonfiling spouse                               spouse                                              unknown




Official Form 106A/B                                                              Schedule A/B: Property                                                   page 7
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                                                                      New York Life Ins Co long term care policy                                                                                 $0.00




                                                                      New York Live Ins Co long term care
                                                                      policy - nonfiling spouse                                                                                                  $0.00


 32. Any interest in property that is due you from someone who has died
        If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
        property because someone has died.
        ✔ No
        ❑
        ❑ Yes. Give specific information..........



 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
        Examples: Accidents, employment disputes, insurance claims, or rights to sue
        ✔ No
        ❑
        ❑ Yes. Describe each claim................


 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
     to set off claims

        ✔ No
        ❑
        ❑ Yes. Describe each claim................


 35. Any financial assets you did not already list

        ✔ No
        ❑
        ❑ Yes. Give specific information..........


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here..................................................................................................................................➜            $147,134.07



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37. Do you own or have any legal or equitable interest in any business-related property?
        ✔ No. Go to Part 6.
        ❑
        ❑ Yes. Go to line 38.
                                                                                                                                                                             Current value of the
                                                                                                                                                                             portion you own?
                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                             claims or exemptions.

 38. Accounts receivable or commissions you already earned

        ✔ No
        ❑
        ❑ Yes. Describe........



Official Form 106A/B                                                                              Schedule A/B: Property                                                                page 8
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                          First Name                   Middle Name                    Last Name



 39. Office equipment, furnishings, and supplies
        Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

        ✔ No
        ❑
        ❑ Yes. Describe........

 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

        ✔ No
        ❑
        ❑ Yes. Describe........

 41. Inventory

        ✔ No
        ❑
        ❑ Yes. Describe........

 42. Interests in partnerships or joint ventures

        ✔ No
        ❑
        ❑ Yes. Describe........
        Name of entity:                                                                                     % of ownership:

                                                                                                                                 %


 43. Customer lists, mailing lists, or other compilations
        ✔ No
        ❑
        ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                ✔ No
                ❑
                ❑ Yes. Describe........

 44. Any business-related property you did not already list

        ✔ No
        ❑
        ❑ Yes. Give specific
             information.........




 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.................................................................................................................................➜                    $0.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
        ✔ No. Go to Part 7.
        ❑
        ❑ Yes. Go to line 47.
                                                                                                                                                                             Current value of the
                                                                                                                                                                             portion you own?
                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                             claims or exemptions.




Official Form 106A/B                                                                              Schedule A/B: Property                                                                page 9
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                           First Name                    Middle Name                     Last Name



 47. Farm animals
        Examples: Livestock, poultry, farm-raised fish
        ✔ No
        ❑
        ❑ Yes.........................

 48. Crops—either growing or harvested

        ✔ No
        ❑
        ❑ Yes. Give specific
             information.............


 49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

        ✔ No
        ❑
        ❑ Yes..........................


 50. Farm and fishing supplies, chemicals, and feed

        ✔ No
        ❑
        ❑ Yes..........................


 51. Any farm- and commercial fishing-related property you did not already list

        ✔ No
        ❑
        ❑ Yes. Give specific
             information.............


 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
     for Part 6. Write that number here...................................................................................................................................➜             $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership

        ❑ No
        ✔ Yes. Give specific
        ❑                                      contract to purchase home in Daytona Beach, FL - nonfiling spouse
                                                                                                                                                                                     unknown

             information.............




 54. Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                              $0.00



 Part 8: List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2..........................................................................................................................................➜       $0.00


 56. Part 2: Total vehicles, line 5                                                                               $9,725.00


 57. Part 3: Total personal and household items, line 15                                                          $8,945.00




Official Form 106A/B                                                                                 Schedule A/B: Property                                                         page 10
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                         First Name                 Middle Name                  Last Name



 58. Part 4: Total financial assets, line 36                                                         $147,134.07


 59. Part 5: Total business-related property, line 45                                                         $0.00


 60. Part 6: Total farm- and fishing-related property, line 52                                                $0.00


 61. Part 7: Total other property not listed, line 54                                 +                       $0.00


 62. Total personal property. Add lines 56 through 61..............                                  $165,804.07           Copy personal property total➜             +   $165,804.07




 63. Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................       $165,804.07




Official Form 106A/B                                                                        Schedule A/B: Property                                                         page 11
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                       First Name         Middle Name       Last Name



                                                        SCHEDULE A/B: PROPERTY
                                                               Continuation Page

 6.    Household goods and furnishings
       sofa - nonfiling spouse                                                                                              $0.00
       chairs - nonfiling spouse                                                                                            $0.00
       tables - nonfiling spouse                                                                                            $0.00
       bookcases -nonfiling spouse                                                                                          $0.00
       lamps - nonfiling spouse                                                                                             $0.00
       entertainment center                                                                                                $75.00
       rugs                                                                                                              $1,500.00
       mirrors                                                                                                            $400.00
       refrigerator - nonfiling spouse                                                                                      $0.00
       kitchenware                                                                                                        $250.00
       buffet                                                                                                             $200.00
       table and chairs - nonfiling spouse                                                                                  $0.00
       china cabinet                                                                                                      $175.00
       china/crystal - nonfiling spouse                                                                                     $0.00
       bed - nonfiling spouse                                                                                               $0.00
       night stands                                                                                                       $150.00
       bed - nonfiling spouse                                                                                               $0.00
       chairs - nonfiling spouse                                                                                            $0.00
       file cabinets                                                                                                       $45.00
       linens - nonfiling spouse                                                                                            $0.00
       patio furniture - nonfiling spouse                                                                                   $0.00
       grill - nonfiling spouse                                                                                             $0.00
       refrigerator - nonfiling spouse                                                                                      $0.00
       washer - nonfiling spouse                                                                                            $0.00
       dryer- nonfiling spouse                                                                                              $0.00
       tools                                                                                                              $400.00
       art                                                                                                                $400.00
       books                                                                                                              $375.00
       misc household goods                                                                                               $750.00

 7.    Electronics
       tablet                                                                                                             $200.00
       Iphone                                                                                                             $300.00
       televisions - nonfiling spouse                                                                                       $0.00
       CDs/DVDs - nonfiling spouse                                                                                          $0.00

 10. Firearms
       pistol                                                                                                             $400.00
       pistol - nonfiling spouse                                                                                            $0.00

 11.   Clothes
       mens clothing and accessories                                                                                     $1,900.00
       womens clothing and accessories - nonfiling spouse                                                                   $0.00

 12. Jewelry
       mens jewelry                                                                                                       $425.00

Official Form 106A/B                                                   Schedule A/B: Property
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 Debtor 1          Clifton          Monroe              Mitchell                            Case number (if known)
                   First Name       Middle Name         Last Name



                                                  SCHEDULE A/B: PROPERTY
                                                           Continuation Page
      womens jewelry - nonfiling spouse                                                                                 $0.00


 17. Deposits of money


      Checking account:                                                                                              unknown
      Bank of America checking 7949 - nonfiling spouse sole management

      Checking account:                                                                                              unknown
      Truist business checking 2467 - nonfiling spouse sole management He's For
      Me LLC

      Checking account:                                                                                              unknown
      Bank of America business checking 5480 - nonfiling spouse sole management
      He's For Me LLC

      Checking account:                                                                                              unknown
      Truist business checking 3261 - nonfiling spouse sole management SBQ
      Properties LLC

      Checking account:                                                                                               $239.58
      Banisto savings 4614 Bank based in Panama

      Checking account:                                                                                              unknown
      Banisto savings 8552 - nonfiling spouse sole management Bank based in
      Panama




Official Form 106A/B                                               Schedule A/B: Property
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 Fill in this information to identify your case:

  Debtor 1                    Clifton              Monroe             Mitchell
                              First Name           Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name       Last Name

  United States Bankruptcy Court for the:                        Western District of Texas

  Case number                                                                                                                     ❑    Check if this is an
  (if known)                                                                                                                           amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                   04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount.
However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      ❑ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
 1.

      ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
      ❑

 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on              Current value of the     Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                      portion you own
                                                            Copy the value from      Check only one box for each exemption.
                                                            Schedule A/B

                                                                                     ❑
 Brief description:
                                                                                                                              11 U.S.C. § 522(d)(2)(Claimed:
 2010 Hyundai Tucson
 sole management community property
                                                                        $9,725.00
                                                                                     ✔
                                                                                     ❑   100% of fair market value, up        $4,450.00)
                                                                                         to any applicable statutory limit
 Line from
 Schedule A/B:          3.1
                                                                                     ✔
                                                                                     ❑               $5,275.00                11 U.S.C. § 522(d)(5)
                                                                                     ❑   100% of fair market value, up
                                                                                         to any applicable statutory limit


                                                                                     ❑
 Brief description:
                                                                                                                              11 U.S.C. § 522(d)(2)(Claimed:
 2009 Vespa PX150
 nonfiling spouse - separate property
                                                                             $0.00
                                                                                     ✔
                                                                                     ❑   100% of fair market value, up        $0.00)
                                                                                         to any applicable statutory limit
 Line from
 Schedule A/B:          3.2




Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                               page 1 of 11
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                     First Name           Middle Name            Last Name


 Part 2: Additional Page


 3.   Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        ❑ No
        ❑ Yes




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                   page 2 of 11
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                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the       Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from        Check only one box for each exemption.
                                                      Schedule A/B

                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 sofa - nonfiling spouse                                                 $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 chairs - nonfiling spouse                                               $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 tables - nonfiling spouse                                               $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 bookcases -nonfiling spouse                                             $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 lamps - nonfiling spouse                                                $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 entertainment center                                                $75.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $75.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 rugs                                                             $1,500.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $700.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6
                                                                                 ✔
                                                                                 ❑                $800.00                  11 U.S.C. § 522(d)(5)
                                                                                 ❑   100% of fair market value, up
                                                                                     to any applicable statutory limit


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 mirrors                                                            $400.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $400.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                 page 3 of 11
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 Debtor 1             Clifton           Monroe                Mitchell                                         Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the       Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from        Check only one box for each exemption.
                                                      Schedule A/B

                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 refrigerator - nonfiling spouse                                         $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 kitchenware                                                        $250.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $250.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 buffet                                                             $200.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $200.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 table and chairs - nonfiling spouse                                     $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 china cabinet                                                      $175.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $175.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 china/crystal - nonfiling spouse                                        $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 bed - nonfiling spouse                                                  $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 night stands                                                       $150.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $150.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 bed - nonfiling spouse                                                  $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                 page 4 of 11
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 Debtor 1             Clifton           Monroe                Mitchell                                         Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the       Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from        Check only one box for each exemption.
                                                      Schedule A/B

                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 chairs - nonfiling spouse                                               $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 file cabinets                                                       $45.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $45.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 linens - nonfiling spouse                                               $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 patio furniture - nonfiling spouse                                      $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 grill - nonfiling spouse                                                $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 refrigerator - nonfiling spouse                                         $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 washer - nonfiling spouse                                               $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 dryer- nonfiling spouse                                                 $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 tools                                                              $400.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $400.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                 page 5 of 11
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 Debtor 1             Clifton           Monroe                Mitchell                                         Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the       Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from        Check only one box for each exemption.
                                                      Schedule A/B

                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 art                                                                $400.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $400.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 books                                                              $375.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $375.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 misc household goods                                               $750.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $700.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         6
                                                                                 ✔
                                                                                 ❑                $50.00                   11 U.S.C. § 522(d)(5)
                                                                                 ❑   100% of fair market value, up
                                                                                     to any applicable statutory limit


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 tablet                                                             $200.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $200.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         7


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 Iphone                                                             $300.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $300.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         7


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 televisions - nonfiling spouse                                          $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         7


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 CDs/DVDs - nonfiling spouse                                             $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         7




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                 page 6 of 11
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 Debtor 1             Clifton           Monroe                Mitchell                                         Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the       Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from        Check only one box for each exemption.
                                                      Schedule A/B

                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 sporting goods                                                   $1,000.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $700.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         9
                                                                                 ✔
                                                                                 ❑                $300.00                  11 U.S.C. § 522(d)(5)
                                                                                 ❑   100% of fair market value, up
                                                                                     to any applicable statutory limit


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(5)(Claimed:
 pistol                                                             $400.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $400.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:        10


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(5)(Claimed:
 pistol - nonfiling spouse                                               $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:        10


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 mens clothing and accessories                                    $1,900.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $700.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:         11
                                                                                 ✔
                                                                                 ❑               $1,200.00                 11 U.S.C. § 522(d)(5)
                                                                                 ❑   100% of fair market value, up
                                                                                     to any applicable statutory limit


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(3)(Claimed:
 womens clothing and accessories - nonfiling
 spouse
                                                                         $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
                                                                                     to any applicable statutory limit
 Line from
 Schedule A/B:         11


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(4)(Claimed:
 mens jewelry                                                       $425.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $425.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:        12


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(4)(Claimed:
 womens jewelry - nonfiling spouse                                       $0.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:        12




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                 page 7 of 11
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 Debtor 1             Clifton           Monroe                Mitchell                                      Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the    Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from     Check only one box for each exemption.
                                                      Schedule A/B

                                                                              ❑
 Brief description:
                                                                                                                        11 U.S.C. § 522(d)(5)(Claimed:
 Cash                                                               $230.00
                                                                              ✔
                                                                              ❑   100% of fair market value, up         $230.00)
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         16


                                                                              ❑
 Brief description:
                                                                                                                        11 U.S.C. § 522(d)(5)(Claimed:
 Chase checking 6924
 Checking account
                                                                    $176.49
                                                                              ✔
                                                                              ❑   100% of fair market value, up         $176.49)
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:         17


                                                                              ❑
 Brief description:
                                                                                                                        11 U.S.C. § 522(d)(5)(Claimed:
 Truist checking 2106 - nonfiling spouse sole
 management
                                                                   unknown
                                                                              ✔
                                                                              ❑   100% of fair market value, up         $0.00)
 Checking account                                                                 to any applicable statutory limit

 Line from
 Schedule A/B:         17


                                                                              ❑
 Brief description:
                                                                                                                        11 U.S.C. § 522(d)(5)(Claimed:
 Bank of America checking 7949 - nonfiling spouse
 sole management
                                                                   unknown
                                                                              ✔
                                                                              ❑   100% of fair market value, up         $0.00)
 Checking account                                                                 to any applicable statutory limit

 Line from
 Schedule A/B:         17


                                                                              ❑
 Brief description:
                                                                                                                        11 U.S.C. § 522(d)(5)(Claimed:
 Bank of America savings 3261 - nonfiling spouse
 sole management
                                                                   unknown
                                                                              ✔
                                                                              ❑   100% of fair market value, up         $0.00)
 Savings account                                                                  to any applicable statutory limit

 Line from
 Schedule A/B:         17


                                                                              ❑
 Brief description:
                                                                                                                        11 U.S.C. § 522(d)(5)(Claimed:
 Lively HSA - nonfiling spouse
 Other financial account
                                                                   unknown
                                                                              ✔
                                                                              ❑   100% of fair market value, up         $0.00)
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:         17


                                                                              ❑
 Brief description:
                                                                                                                        11 U.S.C. § 522(d)(5)(Claimed:
 Truist business checking 2467 - nonfiling spouse
 sole management He's For Me LLC
                                                                   unknown
                                                                              ✔
                                                                              ❑   100% of fair market value, up         $0.00)
 Checking account                                                                 to any applicable statutory limit

 Line from
 Schedule A/B:         17




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                              page 8 of 11
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 Debtor 1             Clifton           Monroe                Mitchell                                      Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the    Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from     Check only one box for each exemption.
                                                      Schedule A/B

                                                                              ❑
 Brief description:
                                                                                                                        11 U.S.C. § 522(d)(5)(Claimed:
 Truist business savings 4683 - nonfiling spouse
 sole management He's For Me LLC
                                                                   unknown
                                                                              ✔
                                                                              ❑   100% of fair market value, up         $0.00)
 Savings account                                                                  to any applicable statutory limit

 Line from
 Schedule A/B:         17


                                                                              ❑
 Brief description:
                                                                                                                        11 U.S.C. § 522(d)(5)(Claimed:
 Bank of America business checking 5480 -
 nonfiling spouse sole management He's For Me
                                                                   unknown
                                                                              ✔
                                                                              ❑   100% of fair market value, up         $0.00)
 LLC                                                                              to any applicable statutory limit
 Checking account

 Line from
 Schedule A/B:         17


                                                                              ❑
 Brief description:
                                                                                                                        11 U.S.C. § 522(d)(5)(Claimed:
 Truist business checking 3261 - nonfiling spouse
 sole management SBQ Properties LLC
                                                                   unknown
                                                                              ✔
                                                                              ❑   100% of fair market value, up         $0.00)
 Checking account                                                                 to any applicable statutory limit

 Line from
 Schedule A/B:         17


                                                                              ❑
 Brief description:
                                                                                                                        11 U.S.C. § 522(d)(5)(Claimed:
 Banisto savings 4614 Bank based in Panama
 Checking account
                                                                    $239.58
                                                                              ✔
                                                                              ❑   100% of fair market value, up         $239.58)
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:         17


                                                                              ❑
 Brief description:
                                                                                                                        11 U.S.C. § 522(d)(5)(Claimed:
 Banisto savings 8552 - nonfiling spouse sole
 management Bank based in Panama
                                                                   unknown
                                                                              ✔
                                                                              ❑   100% of fair market value, up         $0.00)
 Checking account                                                                 to any applicable statutory limit

 Line from
 Schedule A/B:         17


                                                                              ❑
 Brief description:
                                                                                                                        11 U.S.C. § 522(d)(5)(Claimed:
 Venmo - nonfiling spouse sole management
 Other financial account
                                                                   unknown
                                                                              ✔
                                                                              ❑   100% of fair market value, up         $0.00)
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:         17


                                                                              ❑
 Brief description:
                                                                                                                        11 U.S.C. § 522(d)(5)(Claimed:
 Paypal - nonfiling spouse sole management
 Other financial account
                                                                   unknown
                                                                              ✔
                                                                              ❑   100% of fair market value, up         $0.00)
                                                                                  to any applicable statutory limit
 Line from
 Schedule A/B:         17




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                              page 9 of 11
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 Debtor 1             Clifton           Monroe                Mitchell                                         Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the       Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from        Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                                 ✔
                                                                                 ❑                 $1.00                   11 U.S.C. § 522(d)(5)
 Dawa Management LLC 100%                                                $1.00
                                                                                 ❑   100% of fair market value, up
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:        19

 Brief description:
                                                                                 ✔
                                                                                 ❑                 $0.50                   11 U.S.C. § 522(d)(5)
 Raba Management LLC 50%                                                 $0.50
                                                                                 ❑   100% of fair market value, up
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:        19

 Brief description:
                                                                                 ✔
                                                                                 ❑                 $1.00                   11 U.S.C. § 522(d)(5)
 North America Holdings LLC 100%                                         $1.00
                                                                                 ❑   100% of fair market value, up
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:        19

 Brief description:
                                                                                 ✔
                                                                                 ❑                 $0.50                   11 U.S.C. § 522(d)(5)
 Pantierra Inversiones, Corp 50% owned by Debtor                         $0.50
 and 50% owned by nonfiling spouse                                               ❑   100% of fair market value, up
                                                                                     to any applicable statutory limit
 Line from
 Schedule A/B:        19


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(12)(Claimed:
 Mutual of America IRA - nonfiling spouse                          unknown
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:        21


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(12)(Claimed:
 TexaSavers 401(k) - nonfiling spouse                              unknown
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $0.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:        21


                                                                                 ❑
 Brief description:
                                                                                                                           42 U.S.C. § 407(Claimed: $0.00)
 social security payments of $3820                                 unknown
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:        30


                                                                                 ❑
 Brief description:
                                                                                                                           11 U.S.C. § 522(d)(7)(Claimed:
 Texas Life Ins Co whole life policy                           $146,485.00
                                                                                 ✔
                                                                                 ❑   100% of fair market value, up         $18,755.00)
 Line from                                                                           to any applicable statutory limit
 Schedule A/B:        31




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                page 10 of 11
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 Debtor 1             Clifton             Monroe                Mitchell                                         Case number (if known)
                      First Name          Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the       Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from        Check only one box for each exemption.
                                                        Schedule A/B

                                                                                   ❑
 Brief description:
                                                                                                                             11 U.S.C. § 522(d)(7)(Claimed:
 Protective Life Ins Co term policy - nonfiling
 spouse
                                                                     unknown
                                                                                   ✔
                                                                                   ❑   100% of fair market value, up         $0.00)
                                                                                       to any applicable statutory limit
 Line from
 Schedule A/B:        31


                                                                                   ❑
 Brief description:
                                                                                                                             11 U.S.C. § 522(d)(7)(Claimed:
 New York Life Ins Co long term care policy                                $0.00
                                                                                   ✔
                                                                                   ❑   100% of fair market value, up         $0.00)
 Line from                                                                             to any applicable statutory limit
 Schedule A/B:        31


                                                                                   ❑
 Brief description:
                                                                                                                             11 U.S.C. § 522(d)(7)(Claimed:
 New York Live Ins Co long term care policy -
 nonfiling spouse
                                                                           $0.00
                                                                                   ✔
                                                                                   ❑   100% of fair market value, up         $0.00)
                                                                                       to any applicable statutory limit
 Line from
 Schedule A/B:        31




Official Form 106C                                       Schedule C: The Property You Claim as Exempt                                                page 11 of 11
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                                     UNITED STATES BANKRUPTCY COURT
                                                           WESTERN DISTRICT OF TEXAS
                                                                AUSTIN DIVISION

IN RE:    Mitchell, Clifton Monroe                                                          CASE NO

                                                                                            CHAPTER      Chapter 7

                                              SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                             Scheme Selected: Federal
                                                          Gross                   Total                              Total Amount    Total Amount
 No.      Category                                Property Value          Encumbrances          Total Equity               Exempt     Non-Exempt
 1.       Real Estate                                      $0.00                    $0.00               $0.00               $0.00           $0.00
 3.       Motor vehicle                                $9,725.00                    $0.00         $9,725.00             $9,725.00           $0.00
 4.       Watercraft, trailers, motors                     $0.00                    $0.00               $0.00               $0.00           $0.00
          homes, and accessories
 6.       Household goods and                          $4,720.00                    $0.00         $4,720.00             $4,720.00           $0.00
          furnishings
 7.       Electronics                                    $500.00                    $0.00             $500.00            $500.00            $0.00
 8.       Collectibles of value                            $0.00                    $0.00               $0.00               $0.00           $0.00
 9.       Equipment for sports and                     $1,000.00                    $0.00         $1,000.00             $1,000.00           $0.00
          hobbies
 10.      Firearms                                       $400.00                    $0.00             $400.00            $400.00            $0.00
 11.      Clothes                                      $1,900.00                    $0.00         $1,900.00             $1,900.00           $0.00
 12.      Jewelry                                        $425.00                    $0.00             $425.00            $425.00            $0.00
 13.      Nonfarm animals                                  $0.00                    $0.00               $0.00               $0.00           $0.00
 14.      Other                                            $0.00                    $0.00               $0.00               $0.00           $0.00
 16.      Cash                                           $230.00                    $0.00             $230.00            $230.00            $0.00
 17.      Deposits of money                              $416.07                    $0.00             $416.07            $416.07            $0.00
 18.      Bonds, mutual funds, or                          $0.00                    $0.00               $0.00               $0.00           $0.00
          publicly traded stocks
 19.      Business Interests, LLC's,                       $3.00                    $0.00               $3.00               $3.00           $0.00
          Partnerships, Joint Ventures
          and Nonpublicly traded stock
 20.      Bonds and other financial                        $0.00                    $0.00               $0.00               $0.00           $0.00
          instruments
 21.      Retirement or pension                            $0.00                    $0.00               $0.00               $0.00           $0.00
          accounts
 22.      Security deposits and                            $0.00                    $0.00               $0.00               $0.00           $0.00
          prepayments
 23.      Annuities                                        $0.00                    $0.00               $0.00               $0.00           $0.00
 24.      Interest in a qualified education                $0.00                    $0.00               $0.00               $0.00           $0.00
          fund, such as an education IRA
 25.      Trusts, equitable or future                      $0.00                    $0.00               $0.00               $0.00           $0.00
          interests in property
 26.      Copyrights, trademarks,                          $0.00                    $0.00               $0.00               $0.00           $0.00
          websites and other intellectual
          property
 27.      Licenses, Franchises, and                        $0.00                    $0.00               $0.00               $0.00           $0.00
          other general intangibles
 28.      Tax refunds                                      $0.00                    $0.00               $0.00               $0.00           $0.00
 29.      Family support                                   $0.00                    $0.00               $0.00               $0.00           $0.00
 30.      Other amounts owed to the                        $0.00                    $0.00               $0.00               $0.00           $0.00
          debtor
 31.      Insurance policies                        $146,485.00               $127,730.00       $18,755.00             $18,755.00           $0.00
 32.      Interest in property from                        $0.00                    $0.00               $0.00               $0.00           $0.00
          deceased
 33.      Claims against third parties                     $0.00                    $0.00               $0.00               $0.00           $0.00
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                                     UNITED STATES BANKRUPTCY COURT
                                                           WESTERN DISTRICT OF TEXAS
                                                                AUSTIN DIVISION

IN RE:    Mitchell, Clifton Monroe                                                          CASE NO

                                                                                            CHAPTER     Chapter7

                                               SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                    Continuation Sheet #1


Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                           Scheme Selected: Federal
                                                           Gross                  Total                            Total Amount    Total Amount
 No.      Category                                 Property Value         Encumbrances          Total Equity             Exempt     Non-Exempt
 34.      All other claims, includes                       $0.00                   $0.00              $0.00              $0.00           $0.00
          contingent/unliquidated claims,
          counter claims, and creditor set
          offs
 35.      Other financial asset                            $0.00                   $0.00              $0.00              $0.00           $0.00
 38.      Accounts receivable                              $0.00                   $0.00              $0.00              $0.00           $0.00
 39.      Office equipment, furnishings,                   $0.00                   $0.00              $0.00              $0.00           $0.00
          and supplies
 40.      Machinery, fixtures and                          $0.00                   $0.00              $0.00              $0.00           $0.00
          equipment
 41.      Inventory                                        $0.00                   $0.00              $0.00              $0.00           $0.00
 42.      Interests in partnerships or joint               $0.00                   $0.00              $0.00              $0.00           $0.00
          ventures
 43.      Customer lists                                   $0.00                   $0.00              $0.00              $0.00           $0.00
 44.      Other businessrelated property                   $0.00                   $0.00              $0.00              $0.00           $0.00


 47.      Farm animals                                     $0.00                   $0.00              $0.00              $0.00           $0.00
 48.      Crops                                            $0.00                   $0.00              $0.00              $0.00           $0.00
 49.      Equipment                                        $0.00                   $0.00              $0.00              $0.00           $0.00
 50.      Supplies                                         $0.00                   $0.00              $0.00              $0.00           $0.00
 51.      Other farm or fishing related                    $0.00                   $0.00              $0.00              $0.00           $0.00
          property
 53.      Other Assets                                     $0.00                   $0.00              $0.00              $0.00           $0.00

                  TOTALS:                            $165,804.07              $127,730.00       $38,074.07           $38,074.07           $0.00
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                                     UNITED STATES BANKRUPTCY COURT
                                                               WESTERN DISTRICT OF TEXAS
                                                                    AUSTIN DIVISION

IN RE:    Mitchell, Clifton Monroe                                                           CASE NO

                                                                                             CHAPTER      Chapter7

                                             SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                     Continuation Sheet #2


Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes of this
analysis. The below listed items are to be returned to the lienholder
 Property Description                                                                          Market Value                  Lien                   Equity
 Real Property
 (None)
 Personal Property
 (None)
                              TOTALS:                                                                  $0.00                $0.00                    $0.00


Non-exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

 Property Description                                             Market Value                 Lien               Equity             Non-Exempt Amount
 Real Property
 (None)
 Personal Property
 (None)
                        TOTALS:                                   $165,804.07          $127,730.00         $38,074.07                                $0.00



                                                                Summary
                 A. Gross Property Value (not including surrendered property)                              $165,804.07
                 B. Gross Property Value of Surrendered Property                                                   $0.00
                 C. Total Gross Property Value (A+B)                                                       $165,804.07
                 D. Gross Amount of Encumbrances (not including surrendered property)                      $127,730.00
                 E. Gross Amount of Encumbrances on Surrendered Property                                           $0.00
                 F. Total Gross Encumbrances (D+E)                                                         $127,730.00
                 G. Total Equity (not including surrendered property) / (A-D)                                  $38,074.07
                 H. Total Equity in surrendered items (B-E)                                                        $0.00
                 I. Total Equity (C-F)                                                                         $38,074.07
                 J. Total Exemptions Claimed (Wild Card Used: $8,674.07, Available: $6,750.93)                 $38,074.07
                 K. Total Non-Exempt Property Remaining (G-J)                                                      $0.00
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 Fill in this information to identify your case:

  Debtor 1                       Clifton                 Monroe              Mitchell
                                 First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                              Western District of Texas

  Case number                                                                                                                                ❑    Check if this is an
  (if known)                                                                                                                                      amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and
case number (if known).
1. Do any creditors have claims secured by your property?
   ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   ✔ Yes. Fill in all of the information below.
   ❑
 Part 1: List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor                       Column A            Column B            Column C
    separately for each claim. If more than one creditor has a particular claim, list the other                     Amount of claim     Value of            Unsecured
    creditors in Part 2. As much as possible, list the claims in alphabetical order according to the                Do not deduct the   collateral that     portion
    creditor’s name.                                                                                                value of            supports this       If any
                                                                                                                    collateral.         claim

 2.1 Texas Life Insurance Co                                Describe the property that secures the claim:               $127,730.00          $146,485.00                $0.00
      Creditor's Name
                                                              Texas Life Ins Co whole life policy
      PO Box 830
      Number            Street
      Waco, TX 76703-0830                                   As of the date you file, the claim is: Check all that
      City                        State       ZIP Code      apply.
      Who owes the debt? Check one.                         ❑ Contingent
      ✔ Debtor 1 only
      ❑                                                     ❑ Unliquidated
      ❑ Debtor 2 only                                       ❑ Disputed
      ❑ Debtor 1 and Debtor 2 only                          Nature of lien. Check all that apply.
      ❑ At least one of the debtors and                     ✔ An agreement you made (such as mortgage
                                                            ❑
          another                                              or secured car loan)
      ❑ Check if this claim relates to a                    ❑ Statutory lien (such as tax lien, mechanic's
          community debt                                       lien)
      Date debt was incurred                                ❑ Judgment lien from a lawsuit
      8/1993                                                ❑ Other (including a right to offset)
                                                            Last 4 digits of account number 2          0   9   7

       Remarks:
       50% nonconsumer - loan was taken out in 1993 so lots of interest has been tacked on


      Add the dollar value of your entries in Column A on this page. Write that number here:                                  $127,730.00




Official Form 106D                                            Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 2
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 Debtor 1                Clifton            Monroe                  Mitchell                                       Case number (if known)
                         First Name         Middle Name             Last Name


                                                                                                             Column A             Column B          Column C
                Additional Page
                                                                                                             Amount of claim      Value of          Unsecured
  Part 1:       After listing any entries on this page, number them beginning with                           Do not deduct the    collateral that   portion
                2.3, followed by 2.4, and so forth.                                                          value of             supports this     If any
                                                                                                             collateral.          claim


 2.2                                                 Describe the property that secures the claim:
       Creditor's Name


       Number        Street
                                                     As of the date you file, the claim is: Check all that
                                                     apply.
                                                     ❑ Contingent
       City                    State   ZIP Code
       Who owes the debt? Check one.
       ❑ Debtor 1 only                               ❑ Unliquidated
       ❑ Debtor 2 only                               ❑ Disputed
       ❑ Debtor 1 and Debtor 2 only                  Nature of lien. Check all that apply.
       ❑ At least one of the debtors and             ❑ An agreement you made (such as mortgage
          another                                         or secured car loan)
       ❑ Check if this claim relates to a            ❑ Statutory lien (such as tax lien, mechanic's
          community debt                                  lien)

       Date debt was incurred
                                                     ❑ Judgment lien from a lawsuit
                                                     ❑ Other (including a right to offset)
                                                     Last 4 digits of account number
       Add the dollar value of your entries in Column A on this page. Write that number here:                                    $0.00
       If this is the last page of your form, add the dollar value totals from all pages. Write that number            $127,730.00
       here:




Official Form 106D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                  Clifton                Monroe             Mitchell
                            First Name             Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                        Western District of Texas

  Case number                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other
party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form
106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that
are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in
the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
     claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
     amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
     fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                             Total       Priority        Nonpriority
                                                                                                                             claim       amount          amount

2.1      Internal Revenue Service                                  Last 4 digits of account number 5992                       $151,553.00 $151,553.00             $0.00
        Priority Creditor's Name
                                                                   When was the debt incurred?
         Special Procedures Staff - Insolvency                       2017-2018
         PO Box 7346                                               As of the date you file, the claim is: Check all that
        Number          Street                                     apply.
         Philadelphia, PA 19101-7346                               ❑ Contingent
        City                             State     ZIP Code        ❑ Unliquidated
        Who incurred the debt? Check one.                          ❑ Disputed
        ❑ Debtor 1 only                                            Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                            ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                               ✔ Taxes and certain other debts you owe the
                                                                   ❑
        ✔ At least one of the debtors and another
        ❑                                                             government
        ❑ Check if this claim is for a community debt              ❑ Claims for death or personal injury while you
                                                                      were intoxicated
        Is the claim subject to offset?                            ❑ Other. Specify
        ✔ No
        ❑                                                             trust fund penalty assessment taxes
        ❑ Yes
         Remarks: trust fund penalty assessment taxes;
         nondischargeable; lien filed in Travis County - no
         assets in Travis County




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of 7
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 Debtor 1             Clifton              Monroe                 Mitchell                                        Case number (if known)
                      First Name           Middle Name            Last Name

 Part 1: Your PRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                 Total      Priority    Nonpriority
                                                                                                                         claim      amount      amount

2.2     Internal Revenue Service                                 Last 4 digits of account number 3180                      $167,132.00 $167,132.00       $0.00
       Priority Creditor's Name
                                                                 When was the debt incurred?
        Special Procedures Staff - Insolvency                     2017
        PO Box 7346                                              As of the date you file, the claim is: Check all that
       Number          Street                                    apply.
        Philadelphia, PA 19101-7346                              ❑   Contingent
       City                            State    ZIP Code
                                                                 ❑   Unliquidated
       Who incurred the debt? Check one.
                                                                 ❑   Disputed
       ❑      Debtor 1 only
                                                                 Type of PRIORITY unsecured claim:
       ❑      Debtor 2 only
                                                                 ❑   Domestic support obligations
       ❑      Debtor 1 and Debtor 2 only                         ✔
                                                                 ❑   Taxes and certain other debts you owe the
       ✔
       ❑      At least one of the debtors and another                government
       ❑      Check if this claim is for a community debt        ❑   Claims for death or personal injury while you
                                                                     were intoxicated
       Is the claim subject to offset?
       ✔                                                         ❑
       ❑      No
                                                                     Other. Specify

       ❑      Yes
       Remarks: 941 taxes; nondischargeable




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 2 of 7
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 Debtor 1             Clifton               Monroe                 Mitchell                                         Case number (if known)
                      First Name            Middle Name            Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part
     1. If more than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the
     Continuation Page of Part 2.
                                                                                                                                                   Total claim

4.1     Knolle, Holcomb, Kothman & Callahan                                                                                                              $86,986.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        2011
        7600 N Capital of Texas Hwy Ste B110
                                                                              As of the date you file, the claim is: Check all that apply.
                                                                              ❑ Contingent
       Number          Street
        Austin, TX 78731-1136
       City                            State     ZIP Code                     ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔ Debtor 1 only
       ❑                                                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑ Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑                                                                          divorce that you did not report as priority claims
                                                                              ❑
              At least one of the debtors and another
       ❑      Check if this claim is for a community debt
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔ No
       ❑                                                                          Attorney Fees
       ❑      Yes

4.2     R.D. Tips Inc                                                                                                                                 $4,000,000.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        1700 S.E. Military Dr
       Number          Street
                                                                              As of the date you file, the claim is: Check all that apply.
        San Antonio, TX 78214-2813
                                                                              ❑ Contingent
       City                            State     ZIP Code                     ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔ Debtor 1 only
       ❑                                                                      Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑ Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔ No
       ❑                                                                          collection/subrogation
       ❑  Yes
       Remarks: 100% nonconsumer




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                page 3 of 7
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 Debtor 1             Clifton              Monroe                 Mitchell                                         Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                    Total claim


4.3     R.D. Tips Inc                                                                                                                             $750,000.00
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        1700 S.E. Military Dr
       Number          Street                                                As of the date you file, the claim is: Check all that apply.
        San Antonio, TX 78214-2813                                           ❑   Contingent
       City                            State    ZIP Code                     ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                             Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑
       ✔
       ❑      No
                                                                                 Other. Specify
                                                                                 collection/subrogation
       ❑      Yes

4.4     Robert Tips                                                                                                                                  unknown
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        c/o R.D. Tips Inc
                                                                             As of the date you file, the claim is: Check all that apply.
        1700 S.E. Military Dr
       Number          Street                                                ❑   Contingent

        San Antonio, TX 78214                                                ❑   Unliquidated
       City                            State    ZIP Code                     ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                  ❑   Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                         divorce that you did not report as priority claims
       ❑      At least one of the debtors and another
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           Notice Only
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                             page 4 of 7
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 Debtor 1             Clifton              Monroe                 Mitchell                                         Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                    Total claim


4.5     South Austin Medical Center                                          Last 4 digits of account number 1928                                    $1,918.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        PO Box 406176
       Number           Street                                               As of the date you file, the claim is: Check all that apply.

        Atlanta, GA 30384                                                    ❑   Contingent
       City                            State    ZIP Code                     ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑   Other. Specify
       ✔
       ❑      No                                                                 medical
       ❑  Yes
       Remarks: medical

4.6     Virginia Jett                                                                                                                                unknown
                                                                             Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?
        20777 Cordill Ln
       Number           Street                                               As of the date you file, the claim is: Check all that apply.
        Spicewood, TX 78669-6471                                             ❑   Contingent
       City                            State    ZIP Code                     ❑   Unliquidated
       Who incurred the debt? Check one.                                     ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                             Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                  ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                     ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                            divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                             ❑   Debts to pension or profit-sharing plans, and other
                                                                                 similar debts
       Is the claim subject to offset?                                       ✔
                                                                             ❑
       ✔
       ❑      No
                                                                                 Other. Specify
                                                                                 Notice Only
       ❑      Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                             page 5 of 7
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 Debtor 1           Clifton              Monroe                 Mitchell                                       Case number (if known)
                    First Name           Middle Name             Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you
     do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Internal Revenue Service                                   On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
                                                                   Line    2.1                   ✔ Part 1: Creditors with Priority Unsecured Claims
                                                                                 of (Check one): ❑
                                                                                                ❑
        Special Procedures Staff
        300 E. 8th Street Stop 5026 AUS                                                             Part 2: Creditors with Nonpriority Unsecured Claims
       Number          Street
                                                                   Last 4 digits of account number 5992
        Austin, TX 78701
       City                                State     ZIP Code


        Internal Revenue Service                                   On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
                                                                   Line    2.2                   ✔ Part 1: Creditors with Priority Unsecured Claims
                                                                                 of (Check one): ❑
                                                                                                ❑
        Special Procedures Staff
        300 E. 8th Street Stop 5026 AUS                                                             Part 2: Creditors with Nonpriority Unsecured Claims
       Number          Street
                                                                   Last 4 digits of account number
        Austin, TX 78701
       City                                State     ZIP Code


        Pauerstein, Jonathan                                       On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        755 E. Mulberry Ave 200                                    Line    4.2
       Number          Street                                                                   ✔
                                                                                                ❑   Part 2: Creditors with Nonpriority Unsecured Claims
        San Antonio, TX 78212
       City                                State     ZIP Code      Last 4 digits of account number

        Pauerstein, Jonathan                                       On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        755 E. Mulberry Ave 200                                    Line    4.3
       Number          Street                                                                   ✔
                                                                                                ❑   Part 2: Creditors with Nonpriority Unsecured Claims
        San Antonio, TX 78212
       City                                State     ZIP Code      Last 4 digits of account number

                                                                   On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                   Line
       Number          Street                                                                   ❑   Part 2: Creditors with Nonpriority Unsecured Claims

                                                                   Last 4 digits of account number

       City                                State     ZIP Code




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                             page 6 of 7
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 Debtor 1          Clifton                Monroe                Mitchell                                   Case number (if known)
                   First Name             Middle Name           Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts
     for each type of unsecured claim.




                                                                                         Total claim


                   6a. Domestic support obligations                           6a.                             $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the              6b.                       $318,685.00
                       government

                   6c. Claims for death or personal injury while you          6c.                             $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.        6d.   +                         $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                        6e.                        $318,685.00




                                                                                         Total claim


                   6f. Student loans                                          6f.                             $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                6g.                             $0.00
                       agreement or divorce that you did not report
                       as priority claims

                   6h. Debts to pension or profit-sharing plans, and          6h.                             $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured             6i.   +                  $4,838,904.00
                       claims. Write that amount here.

                   6j. Total. Add lines 6f through 6i.                        6j.                      $4,838,904.00




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                      page 7 of 7
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 Fill in this information to identify your case:

     Debtor 1                       Clifton              Monroe             Mitchell
                                    First Name           Middle Name       Last Name

     Debtor 2
     (Spouse, if filing)            First Name           Middle Name       Last Name

     United States Bankruptcy Court for the:                           Western District of Texas

     Case number                                                                                                                             ❑   Check if this is an
     (if known)                                                                                                                                  amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                                  State what the contract or lease is for

2.1

        Name

        Number             Street

        City                                     State   ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                              page 1 of 1
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 Fill in this information to identify your case:

  Debtor 1                       Clifton                Monroe            Mitchell
                                 First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)            First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                            Western District of Texas

  Case number                                                                                                                         ❑    Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                       12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing
together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries
in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer
every question.
 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑ No
        ✔ Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California,
        Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ❑ No. Go to line 3.
        ✔ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑
          ❑ No
          ✔ Yes. In which community state or territory did you live? Texas
          ❑                                                                                                 . Fill in the name and current address of that person.
                 Shaklee, Tammy Sue
                Name of your spouse, former spouse, or legal equivalent
                 10722 River Plantation Dr
                Number           Street
                 Austin, TX 78747
                City                                  State   ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2
        again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                             Column 2: The creditor to whom you owe the debt
                                                                                                           Check all schedules that apply:
3.1
      Current Electric Inc                                                                                 ❑ Schedule D, line
      Name                                                                                                 ✔ Schedule E/F, line
                                                                                                           ❑                       2.2
      500 Broadway St
      Number            Street                                                                             ❑ Schedule G, line
      San Marcos, TX 78666-7749
      City                                    State   ZIP Code

3.2
      Trans Pecos Electric                                                                                 ❑ Schedule D, line
      Name                                                                                                 ✔ Schedule E/F, line
                                                                                                           ❑                       2.1
      2601 W F St
      Number            Street                                                                             ❑ Schedule G, line
      Pecos, TX 79772-8200
      City                                    State   ZIP Code




Official Form 106H                                                           Schedule H: Your Codebtors                                                     Page 1 of 1
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 Fill in this information to identify your case:

  Debtor 1                  Clifton                Monroe             Mitchell
                           First Name              Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name       Last Name                                              Check if this is:

  United States Bankruptcy Court for the:                        Western District of Texas                                  ❑ An amended filing
                                                                                                                            ❑ A supplement showing postpetition
  Case number                                                                                                                  chapter 13 income as of the following date:
  (if known)

                                                                                                                               MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                 Debtor 1                                        Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status                       ✔ Not Employed
                                                                          ❑ Employed ❑                                       ✔ Employed ❑ Not Employed
                                                                                                                             ❑
     attach a separate page with
     information about additional            Occupation                                                                      Owner
     employers.
                                             Employer's name                                                                 He's For Me LLC
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address                                                              10722 River Plantation Dr
     Occupation may include student                                        Number Street                                      Number Street
     or homemaker, if it applies.




                                                                                                                             Austin, TX 78747-1481
                                                                           City                      State   Zip Code         City                State     Zip Code

                                             How long employed there?                                                         9 years 7 months



 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                         For Debtor 1   For Debtor 2 or
                                                                                                                        non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.             2.                 $0.00                     $0.00

 3. Estimate and list monthly overtime pay.                                                 3.   +             $0.00    +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                            4.                 $0.00                     $0.00




Official Form 106I                                                         Schedule I: Your Income                                                               page 1
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 Debtor 1                 Clifton                      Monroe                          Mitchell                                      Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.                $0.00                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.               $0.00                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.               $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.               $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.               $0.00                    $0.00
       5e. Insurance                                                                                           5e.               $0.00                    $0.00
       5f. Domestic support obligations                                                                        5f.               $0.00                    $0.00
       5g. Union dues                                                                                          5g.               $0.00                    $0.00

       5h. Other deductions. Specify:                                                                          5h.   +           $0.00        +           $0.00

 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.                $0.00                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.                $0.00                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.               $0.00                $7,449.00
       8b. Interest and dividends                                                                              8b.               $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.               $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.               $0.00                    $0.00
       8e. Social Security                                                                                     8e.           $3,820.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                           8f.               $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.               $0.00                    $0.00

       8h. Other monthly income. Specify:                                                                      8h.   +           $0.00        +           $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.            $3,820.00                $7,449.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.           $3,820.00    +           $7,449.00         =         $11,269.00

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.            $11,269.00

                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:


Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
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 Debtor 1              Clifton           Monroe               Mitchell                          Case number (if known)
                       First Name        Middle Name          Last Name


   8a. Attached Statement
                                                        Business Income - He's For Me LLC

   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
       1.    Gross Monthly Income:                                                                                          $32,372.00

   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
       2.    Ordinary and necessary expense                                                                    $11,843.00

       3.    Net Employee Payroll (Other than debtor)                                                           $4,447.00

       4.    Payroll Taxes                                                                                          $0.00

       5.    Unemployment Taxes                                                                                     $0.00

       6.    Worker's Compensation                                                                                  $0.00

       7.    Other Taxes                                                                                            $0.00

       8.    Inventory Purchases (Including raw materials)                                                        $848.00

       9.    Purchase of Feed/Fertilizer/Seed/Spray                                                                $50.00

       10. Rent (Other than debtor's principal residence)                                                           $0.00

       11. Utilities                                                                                              $647.00

       12. Office Expenses and Supplies                                                                            $13.00

       13. Repairs and Maintenance                                                                                 $24.00

       14. Vehicle Expenses                                                                                         $0.00

       15. Travel and Entertainment                                                                             $2,154.00

       16. Equipment Rental and Leases                                                                              $0.00

       17. Legal/Accounting/Other Professional Fees                                                             $3,892.00

       18. Insurance                                                                                                $0.00

       19. Employee Benefits (e.g., pension, medical, etc.)                                                     $1,005.00

       20. Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
           Business Debts
             TOTAL PAYMENTS TO SECURED CREDITORS                                                                    $0.00

       21. Other Expenses
             TOTAL OTHER EXPENSES                                                                                   $0.00

                                                                                                                            $24,923.00
       22. TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
       23. AVERAGE NET MONTHLY INCOME(Subtract item 22 from item 1)                                                          $7,449.00




Official Form 106I                                                  Schedule I: Your Income                                      page 3
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 Fill in this information to identify your case:

  Debtor 1                  Clifton                 Monroe               Mitchell
                           First Name               Middle Name         Last Name                                Check if this is:

  Debtor 2                                                                                                       ❑ An amended filing
  (Spouse, if filing)      First Name               Middle Name         Last Name                                ❑ A supplement showing postpetition
                                                                                                                      chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                          Western District of Texas

  Case number                                                                                                         MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ✔ No
                                               ❑
     Do not list Debtor 1 and                  ❑ Yes. Fill out this information         Dependent's relationship to         Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2                age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.                                                                                                                                     ❑ No. ❑ Yes.
                                                                                                                                                ❑ No. ❑ Yes.
                                                                                                                                                ❑ No. ❑ Yes.
                                                                                                                                                ❑ No. ❑ Yes.
                                                                                                                                                ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                     4.                         $0.00


     If not included in line 4:
                                                                                                                               4a.                        $0.00
     4a. Real estate taxes
                                                                                                                               4b.                      $72.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                               4c.                     $268.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                               4d.
     4d. Homeowner's association or condominium dues                                                                                                   $250.00




Official Form 106J                                                                  Schedule J: Your Expenses                                                        page 1
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 Debtor 1             Clifton               Monroe                Mitchell                                   Case number (if known)
                      First Name            Middle Name           Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                         $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                   $160.00

       6b. Water, sewer, garbage collection                                                                        6b.                        $0.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                       $54.00

       6d. Other. Specify:                                                                                         6d.                        $0.00

 7.    Food and housekeeping supplies                                                                              7.                  $1,700.00

 8.    Childcare and children’s education costs                                                                    8.                         $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                    $188.00

 10. Personal care products and services                                                                           10.                   $250.00

 11.   Medical and dental expenses                                                                                 11.                   $265.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                       $76.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                 $1,272.00

 14. Charitable contributions and religious donations                                                              14.                        $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                $1,056.00
       15a. Life insurance
       15b. Health insurance                                                                                       15b.                  $467.00

       15c. Vehicle insurance                                                                                      15c.                      $53.00

       15d. Other insurance. Specify:                                                                              15d.                       $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                        $0.00

 17. Installment or lease payments:
                                                                                                                   17a.                       $0.00
       17a. Car payments for Vehicle 1
                                                                                                                   17b.                       $0.00
       17b. Car payments for Vehicle 2
                                                                                                                   17c.                  $487.00
       17c. Other. Specify:                    storage
                                                                                                                   17d.                       $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                        $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                        $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                       $0.00
       20b. Real estate taxes                                                                                      20b.                       $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                       $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                       $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                       $0.00



Official Form 106J                                                           Schedule J: Your Expenses                                                page 2
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 Debtor 1            Clifton              Monroe               Mitchell                                     Case number (if known)
                     First Name           Middle Name          Last Name



 21. Other. Specify:                           auto ins                                                           21.     +              $26.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.                $6,644.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                    $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.                $6,644.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.               $11,269.00

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –           $6,644.00

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.                $4,625.00
             The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                        Schedule J: Your Expenses                                               page 3
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 Fill in this information to identify your case:

  Debtor 1                      Clifton                     Monroe                   Mitchell
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                     Western District of Texas

  Case number                                                                                                                                                            ❑   Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                $0.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                            $165,804.07

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                      $165,804.07



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                               $127,730.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                    $318,685.00


    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                        +          $4,838,904.00


                                                                                                                                                  Your total liabilities                 $5,285,319.00

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                   $11,269.00


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                     $6,644.00




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                          page 1 of 2
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Debtor 1            Clifton               Monroe                 Mitchell                                        Case number (if known)
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑   No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑   Yes



7. What kind of debt do you have?
   ❑   Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
   ✔
   ❑   Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                              Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)



    9d. Student loans. (Copy line 6f.)



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                +


    9g. Total. Add lines 9a through 9f.




Official Form 106Sum                               Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                  Clifton                Monroe             Mitchell
                            First Name             Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                        Western District of Texas

  Case number                                                                                                                       ❑    Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                             12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                              . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                        Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Clifton Monroe Mitchell
        Clifton Monroe Mitchell, Debtor 1


        Date 06/30/2022
                 MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

  Debtor 1                  Clifton                Monroe             Mitchell
                           First Name              Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name       Last Name

  United States Bankruptcy Court for the:                        Western District of Texas

  Case number                                                                                                                        ❑   Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ❑ No
    ✔ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
    ❑
      Debtor 1:                                              Dates Debtor 1 lived    Debtor 2:                                            Dates Debtor 2 lived
                                                             there                                                                        there


                                                                                    ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
     10306 Broomflower Dr                                   From 2/2017                                                                  From
    Number       Street                                                                Number    Street
                                                            To     7/2021                                                                To

     Austin, TX 78739
    City                              State ZIP Code                                   City                         State ZIP Code



                                                                                    ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                            From                                                                         From
    Number       Street                                                                Number    Street
                                                            To                                                                           To



    City                              State ZIP Code                                   City                         State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ❑ No
    ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
    ❑

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
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Debtor 1            Clifton           Monroe                 Mitchell                                        Case number (if known)
                    First Name        Middle Name            Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross Income                Sources of income           Gross Income
                                                Check all that apply.       (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
                                               ❑ Wages, commissions,                                   ❑ Wages, commissions,
    date you filed for bankruptcy:                  bonuses, tips                                          bonuses, tips
                                               ❑ Operating a business                                  ✔ Operating a business
                                                                                                       ❑                                     $20,754.00


    For last calendar year:                    ❑ Wages, commissions,                                   ❑ Wages, commissions,
    (January 1 to December 31, 2021       )         bonuses, tips                                          bonuses, tips
                                   YYYY        ❑ Operating a business                                  ✔ Operating a business
                                                                                                       ❑                                    $164,552.00


    For the calendar year before that:         ❑ Wages, commissions,                                   ❑ Wages, commissions,
    (January 1 to December 31, 2020       )         bonuses, tips                                          bonuses, tips
                                   YYYY        ❑ Operating a business                                  ✔ Operating a business
                                                                                                       ❑                                     $62,077.00



  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross income from           Sources of income           Gross Income from
                                                Describe below.             each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the    social security                         $7,640.00
    date you filed for bankruptcy:




    For last calendar year:
    (January 1 to December 31, 2021       )
                                   YYYY




    For the calendar year before that:
    (January 1 to December 31, 2020       )
                                   YYYY




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
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Debtor 1             Clifton                      Monroe                Mitchell                                       Case number (if known)
                     First Name                   Middle Name           Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ✔ No.
    ❑         Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ✔ No. Go to line 7.
              ❑
              ❑ Yes.        List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                            paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                            not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ❑ Yes.    Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ❑ Yes.        List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                            include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                            an attorney for this bankruptcy case.

                                                                   Dates of           Total amount paid         Amount you still owe       Was this payment for…
                                                                   payment

                                                                                                                                          ❑ Mortgage
             Creditor's Name                                                                                                              ❑ Car
                                                                                                                                          ❑ Credit card
             Number       Street                                                                                                          ❑ Loan repayment
                                                                                                                                          ❑ Suppliers or vendors
                                                                                                                                          ❑ Other
             City                         State      ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.
                                                                Dates of            Total amount paid   Amount you still          Reason for this payment
                                                                payment                                 owe



    Insider's Name


    Number     Street




    City                          State      ZIP Code




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
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Debtor 1             Clifton               Monroe                 Mitchell                                        Case number (if known)
                     First Name            Middle Name            Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                          Dates of            Total amount paid    Amount you still           Reason for this payment
                                                          payment                                  owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                     Nature of the case                      Court or agency                                  Status of the case


                                                                                                                                            ✔ Pending
                                                     collection
    Case title        R.D. Tips Inc. v Mitchell                                             438th District Court Bexar County               ❑
                                                                                                                                            ❑ On appeal
                                                                                            Court Name
    Case number 2015-CI-19661
                                                                                            Bexar County District Clerk
                                                                                                                                            ❑ Concluded
                                                                                            101 E. Nueva #217
                                                                                            Number       Street
                                                                                            San Antonio, TX 78205
                                                                                            City                      State     ZIP Code


                                                     collection
    Case title        R.D. Tips Inc. v Mitchell                                             201st District Court Travis County              ❑ Pending
                                                                                                                                            ❑ On appeal
                                                                                            Court Name
    Case number D-1-GN-17-006923
                                                                                                                                            ✔ Concluded
                                                                                            111 Guadalupe
                                                                                            Number       Street                             ❑
                                                                                            Austin, TX 78701
                                                                                            City                      State     ZIP Code



                                                                                                                                            ✔ Pending
                                                     appeal of 2015-CI-19661; Judgment
    Case title        R.D. Tips Inc. v Mitchell
                                                     affirmed in apart and reversed in part. 13th Court of Appeals                          ❑
                                                                                                                                            ❑ On appeal
                                                     Remanded for further proceedings.       Court Name
    Case number 13-19-00283-CV

                                                                                            Number       Street                             ❑ Concluded

                                                                                            City                      State     ZIP Code




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Debtor 1            Clifton                Monroe                  Mitchell                                       Case number (if known)
                    First Name             Middle Name             Last Name



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.
                                                                    Describe the property                                Date               Value of the property



    Creditor’s Name


    Number     Street                                               Explain what happened

                                                                   ❑ Property was repossessed.
                                                                   ❑ Property was foreclosed.
                                                                   ❑ Property was garnished.
    City                           State    ZIP Code
                                                                   ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                            Describe the action the creditor took                      Date action was     Amount
                                                                                                                       taken
    Creditor’s Name


    Number     Street



    City                          State    ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
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Debtor 1             Clifton                   Monroe                Mitchell                                       Case number (if known)
                     First Name                Middle Name           Last Name

     Gifts with a total value of more than $600              Describe the gifts                                         Dates you gave       Value
     per person                                                                                                         the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                               State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities             Describe what you contributed                                 Date you              Value
     that total more than $600                                                                                     contributed



    Charity’s Name




    Number     Street



    City                       State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                               Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
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Debtor 1            Clifton                Monroe                Mitchell                                       Case number (if known)
                    First Name             Middle Name           Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Description and value of any property transferred             Date payment or       Amount of payment
    Law Office of Michael Baumer                                                                               transfer was made
    Person Who Was Paid                          Attorney's Fee; Attorney's Fee; Attorney's Fee; Attorney's
                                                 Fee                                                           5/5/22                          $622.00
    PO Box 1818
    Number     Street
                                                                                                               5/20/22                         $500.00

                                                                                                               5/26/22                       $2,500.00
    Liberty Hill, TX 78642                                                                                     6/1/22                        $1,000.00
    City                      State   ZIP Code


    Email or website address
    Peter Ruggero for the 5/26/22
    payment
    Person Who Made the Payment, if Not You

                                                 Description and value of any property transferred             Date payment or       Amount of payment
    Abacus Credit Counseling                                                                                   transfer was made
    Person Who Was Paid                          online credit counseling
                                                                                                               5/22                             $40.00
    17337 Ventura Blvd #205
    Number     Street




    Encino, CA 91316
    City                      State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Description and value of any property transferred             Date payment or       Amount of payment
                                                                                                               transfer was made
    Person Who Was Paid



    Number     Street




    City                      State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 7
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Debtor 1            Clifton                Monroe                Mitchell                                       Case number (if known)
                    First Name             Middle Name           Last Name



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Description and value of property         Describe any property or payments            Date transfer was
                                                  transferred                               received or debts paid in exchange           made

    Person Who Received Transfer


    Number     Street




    City                      State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Description and value of the property transferred                                       Date transfer was
                                                                                                                                         made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 8
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Debtor 1            Clifton                 Monroe                 Mitchell                                          Case number (if known)
                    First Name              Middle Name            Last Name

                                                     Last 4 digits of account number            Type of account or     Date account was          Last balance
                                                                                                instrument             closed, sold, moved, or   before closing or
                                                                                                                       transferred               transfer

    IBC Bank
                                                                                           ✔ Checking
                                                                                                                         8/2021                          $184.00
                                                                                           ❑
    Name of Financial Institution                    XXXX– 9      9     0      1

    PO Box 659507                                                                          ❑ Savings
                                                                                           ❑ Money market
    Number      Street


                                                                                           ❑ Brokerage
                                                                                           ❑ Other
    San Antonio, TX 78265
    City                      State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                      Who else had access to it?                      Describe the contents                       Do you still have
                                                                                                                                                  it?

                                                                                                                                                 ❑ No
    Name of Financial Institution                    Name
                                                                                                                                                 ❑ Yes

    Number      Street                               Number    Street



                                                     City                State      ZIP Code

    City                      State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                      Who else has or had access to it?               Describe the contents                       Do you still have
                                                                                                                                                  it?
                                                                                                     misc household goods, clothing, sporting
    Life Storage #167                                                                                goods                                       ❑ No
    Name of Storage Facility                         Name
                                                                                                                                                 ✔ Yes
                                                                                                                                                 ❑
    193 Garden St
    Number      Street                               Number    Street



                                                     City                   State    ZIP Code
    Titusville, FL 32796
    City                       State    ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 9
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Debtor 1            Clifton                Monroe                 Mitchell                                             Case number (if known)
                    First Name             Middle Name            Last Name
 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                     Where is the property?                            Describe the property                    Value


    Owner's Name
                                                    Number    Street


    Number     Street

                                                    City                      State   ZIP Code


    City                      State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                    Governmental unit                            Environmental law, if you know it              Date of notice


    Name of site                                 Governmental unit



    Number     Street                            Number      Street


                                                 City                 State     ZIP Code


    City                      State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 10
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Debtor 1            Clifton                Monroe                   Mitchell                                         Case number (if known)
                    First Name             Middle Name              Last Name

                                                    Governmental unit                       Environmental law, if you know it                         Date of notice


    Name of site                                  Governmental unit



    Number        Street                          Number       Street


                                                  City                  State   ZIP Code


    City                      State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                    Court or agency                         Nature of the case                                        Status of the case


    Case title
                                                  Court Name
                                                                                                                                                  ❑ Pending
                                                                                                                                                  ❑ On appeal
                                                                                                                                                  ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ✔ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑
           ✔ A partner in a partnership
           ❑
           ✔ An officer, director, or managing executive of a corporation
           ❑
           ✔ An owner of at least 5% of the voting or equity securities of a corporation
           ❑
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
    North America Holding Ltd                                                                                Do not include Social Security number or ITIN.
    Name
                                                    holding company
                                                                                                              EIN:    7    4 – 2   9   8      2   1     9   7
    10722 River Plantation Dr
    Number        Street

                                                    Name of accountant or bookkeeper                         Dates business existed
                                                    Randall Williamson, CPA
                                                                                                              From 12/2000          To present
    Austin, TX 78747-1481
    City                      State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 11
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Debtor 1            Clifton                Monroe                    Mitchell                                    Case number (if known)
                    First Name             Middle Name               Last Name

                                                     Describe the nature of the business                 Employer Identification number
     Dawa Management LLC                                                                                 Do not include Social Security number or ITIN.
    Name
                                                    North America Holdings General Partner
                                                                                                          EIN:    7   4 – 2    9     8    2   1   9   7
     10722 River Plantation Dr
    Number     Street

                                                     Name of accountant or bookkeeper                    Dates business existed
                                                    Randall Williamson, CPA
                                                                                                          From 12/2000          To present
     Austin, TX 78747
    City                      State   ZIP Code

                                                     Describe the nature of the business                 Employer Identification number
     Pantierra Inversiones, Corp                                                                         Do not include Social Security number or ITIN.
    Name
                                                    non-operating company
                                                                                                          EIN:             –
     Casa Bonita 4A, Playa Bonita
    Number     Street

                                                     Name of accountant or bookkeeper                    Dates business existed


     Arraijan, Republic of Panama,                                                                        From                  To
    City                      State   ZIP Code

                                                     Describe the nature of the business                 Employer Identification number
     Raba Management LLC                                                                                 Do not include Social Security number or ITIN.
    Name
                                                    : GP for Responsible Americans Benefits
                                                    Association, an association formed but never used     EIN:    2   6 – 1    3     1    6   6   8   9
     10722 River Plantation Dr
                                                    for any business
    Number     Street

                                                     Name of accountant or bookkeeper                    Dates business existed
                                                    Randall Williamson, CPA
                                                                                                          From 10/2007          To present
     Austin, TX 78747-1481
    City                      State   ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ❑ No
    ✔ Yes. Fill in the details below.
    ❑
                                                     Date issued


     Internal Revenue Service                       3/31/22
    Name                                            MM / DD / YYYY


     400 W Bay St # 252
    Number     Street




     Jacksonville, FL 32202-4410
    City                      State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 12
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Debtor 1          Clifton              Monroe                Mitchell                                      Case number (if known)
                  First Name           Middle Name            Last Name




Part 12: Sign Below


 I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
 and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




   ✘ /s/ Clifton Monroe Mitchell
       Signature of Clifton Monroe Mitchell, Debtor 1


       Date 06/30/2022




 Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

   ✔ No
   ❑
   ❑ Yes

 Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
                                                                                                 Attach the Bankruptcy Petition Preparer’s Notice,
   ❑ Yes. Name of person                                                                         Declaration, and Signature (Official Form 119).
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 Fill in this information to identify your case:

  Debtor 1                  Clifton                Monroe             Mitchell
                           First Name              Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name       Last Name

  United States Bankruptcy Court for the:                        Western District of Texas

  Case number                                                                                                                    ❑    Check if this is an
  (if known)                                                                                                                          amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                               12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier,
unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the
form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
and case number (if known).


 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
     Identify the creditor and the property that is collateral            What do you intend to do with the property that secures Did you claim the property as
                                                                          a debt?                                                 exempt on Schedule C?

    Creditor’s                                                            ❑ Surrender the property.                                ✔ No
                                                                                                                                   ❑
    name:               Texas Life Insurance Co
                                                                          ❑ Retain the property and redeem it.                     ❑ Yes
    Description of
    property
                        Texas Life Ins Co whole life policy
                                                                          ❑ Retain the property and enter into a
    securing debt:                                                               Reaffirmation Agreement.
                                                                          ✔ Retain the property and [explain]:
                                                                          ❑




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                         page 1
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 Debtor 1            Clifton            Monroe                 Mitchell                                     Case number (if known)
                     First Name         Middle Name            Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
 information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an
 unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                         Will the lease be assumed?
    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
   property that is subject to an unexpired lease.



  ✘ /s/ Clifton Monroe Mitchell
      Signature of Debtor 1


      Date 06/30/2022
             MM/ DD/ YYYY




Official Form 108                                 Statement of Intention for Individuals Filing Under Chapter 7                                          page 2
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 Fill in this information to identify your case:

  Debtor 1                     Clifton                Monroe             Mitchell
                               First Name             Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)          First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                           Western District of Texas


                                                                                                                    ❑ Check if this is an amended filing
  Case number
  (if known)



Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                             12/15
File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are exempted from a
presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the exclusions in this statement applies
to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).



 Part 1: Identify the Kind of Debts You Have

        1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a personal,
           family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition (Official Form
           101).
           ✔ No.
           ❑            Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
                        this supplement with the signed Form 122A-1.
           ❑ Yes.       Go to Part 2.


 Part 2: Determine Whether Military Service Provisions Apply to You

        2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           ❑ No. Go to line 3.
           ❑ Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                        10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                        ❑ No. Go to line 3.
                        ❑ Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part
                                  3. Then submit this supplement with the signed Form 122A-1.


        3. Are you or have you been a Reservist or member of the National Guard?
           ❑ No. Complete Form 122A-1. Do not submit this supplement.
           ❑ Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
             ❑ No. Complete Form 122A-1. Do not submit this supplement.
             ❑ Yes. Check any one of the following categories that applies:
                ❑ I was called to active duty after September 11, 2001, for at least 90 days          If you checked one of the categories to the left, go to
                         and remain on active duty.                                                        Form 122A-1. On the top of page 1 of Form 122A-1,
                                                                                                           check box 3, The Means Test does not apply now, and
                   ❑ I was called to active duty after September 11, 2001, for at least 90 days            sign Part 3. Then submit this supplement with the signed
                                                                                                           Form 122A-1. You are not required to fill out the rest of
                         and was released from active duty on                       , which is fewer
                                                                                                           Official Form 122A-1 during the exclusion period. The
                         than 540 days before I file this bankruptcy case.
                                                                                                           exclusion period means the time you are on active duty or
                   ❑ I am performing a homeland defense activity for at least 90 days.                     are performing a homeland defense activity, and for 540
                                                                                                           days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                   ❑ I performed a homeland defense activity for at least 90 days, ending on
                                            , which is fewer than 540 days before I file this              If your exclusion period ends before your case is closed,
                         bankruptcy case.                                                                  you may have to file an amended form later




 Official Form 122A-1Supp                      Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                              page 1
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 Fill in this information to identify your case:                                                             Check one box only as directed in this form and in
                                                                                                             Form 122A-1Supp:
  Debtor 1                  Clifton                Monroe              Mitchell
                                                                                                             ✔ 1. There is no presumption of abuse.
                                                                                                             ❑
                           First Name              Middle Name         Last Name

  Debtor 2
                                                                                                             ❑ 2. The calculation to determine if a presumption
  (Spouse, if filing)
                                                                                                                of abuse applies will be made under Chapter 7
                           First Name              Middle Name         Last Name
                                                                                                                Means Test Calculation (Official Form 122A-2).
  United States Bankruptcy Court for the:                        Western District of Texas                   ❑ 3. The Means Test does not apply now because
                                                                                                                of qualified military service but it could apply later.
  Case number
  (if known)
                                                                                                             ❑ Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                              12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or
because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp)
with this form.

 Part 1: Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
     ❑ Not married. Fill out Column A, lines 2-11.
     ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
     ❑ Married and your spouse is NOT filing with you. You and your spouse are:
        ❑ Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
        ❑ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
  varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
  example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
  $0 in the space.

                                                                                                         Column A             Column B
                                                                                                         Debtor 1             Debtor 2 or
                                                                                                                              non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
    deductions).
 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B
    is filled in.
 4. All amounts from any source which are regularly paid for household expenses of you or
    your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and
    roommates. Include regular contributions from a spouse only if Column B is not filled in. Do
    not include payments you listed on line 3.
 5. Net income from operating a business, profession,
                                                                       Debtor 1        Debtor 2
    or farm
     Gross receipts (before all deductions)
     Ordinary and necessary operating expenses                     -               -
                                                                                                  Copy
     Net monthly income from a business, profession, or farm                                      here
                                                                                                  →

 6. Net income from rental and other real property                     Debtor 1        Debtor 2
     Gross receipts (before all deductions)
     Ordinary and necessary operating expenses                     -               -
                                                                                                  Copy
     Net monthly income from rental or other real property                                        here
                                                                                                  →

 7. Interest, dividends, and royalties

 Official Form 122A-1                                            Chapter 7 Statement of Your Current Monthly Income                                             page 1
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Debtor 1                   Clifton                        Monroe                            Mitchell                                      Case number (if known)
                           First Name                     Middle Name                       Last Name
                                                                                                                           Column A                       Column B
                                                                                                                           Debtor 1                       Debtor 2 or
                                                                                                                                                          non-filing spouse
       8. Unemployment compensation
           Do not enter the amount if you contend that the amount received was a benefit
           under
           the Social Security Act. Instead, list it here: ..................................................   ↓
           For you....................................................................................
           For your spouse......................................................................
       9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act. Also, except as stated in the next sentence,
          do not include any compensation, pension, pay, annuity, or allowance paid by the
          United States Government in connection with a disability, combat-related injury or
          disability, or death of a member of the uniformed services. If you received any
          retired pay paid under chapter 61 of title 10, then include that pay only to the extent
          that it does not exceed the amount of retired pay to which you would otherwise be
          entitled if retired under any provision of title 10 other than chapter 61 of that title.
       10. Income from all other sources not listed above. Specify the source and amount.
           Do not include any benefits received under the Social Security Act; payments
           received as a victim of a war crime, a crime against humanity, or international or
           domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by
           the United States Government in connection with a disability, combat-related
           injury or disability, or death of a member of the uniformed services. If necessary,
           list other sources on a separate page and put the total below.




     Total amounts from separate pages, if any.                                                                            +                               +

       11. Calculate your total current monthly income. Add lines 2 through 10 for                                                                         +                        =
           each column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                        Total current
                                                                                                                                                                                    monthly income

 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a. Copy your total current monthly income from line 11....................................................................................      Copy line 11 here →
            Multiply by 12 (the number of months in a year).                                                                                                                            X 12
    12b. The result is your annual income for this part of the form.                                                                                                       12b.
13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.

    Fill in the number of people in your household.

    Fill in the median family income for your state and size of household.................................................................................................... 13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?

    14a. ❑ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
           Go to Part 3.
    14b. ❑ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
           Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                                  Chapter 7 Statement of Your Current Monthly Income                                                        page 2
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Debtor 1           Clifton               Monroe                  Mitchell                                     Case number (if known)
                   First Name            Middle Name              Last Name

Part 3: Sign Below

    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

   ✘ /s/ Clifton Monroe Mitchell
       Signature of Debtor 1

       Date 06/30/2022
              MM/ DD/ YYYY

    If you checked line 14a, do NOT fill out or file Form 122A–2.
    If you checked line 14b, fill out Form 122A–2 and file it with this form.




Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income                              page 3
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                Notice Required by 11 U.S.C. § 342(b) for
                Individuals Filing for Bankruptcy (Form 2010)


                  This notice is for you if:                                          Chapter 7: Liquidation

                         You are an individual filing for                                              $245    filing fee
                         bankruptcy, and
                                                                                                         $78   administrative fee
                                                                                                 +       $15   trustee surcharge
                         Your debts are primarily consumer debts.
                         Consumer debts are defined in 11 U.S.C. §                                     $338    total fee
                         101(8) as “incurred by an individual
                         primarily for a personal, family, or                        Chapter 7 is for individuals who have financial
                         household purpose.”                                         difficulty preventing them from paying their
                                                                                     debts and who are willing to allow their non-
                                                                                     exempt property to be used to pay their
                                                                                     creditors. The primary purpose of filing under
                                                                                     chapter 7 is to have your debts discharged.
                The types of bankruptcy that are                                     The bankruptcy discharge relieves you after
                available to individuals                                             bankruptcy from having to pay many of your
                                                                                     pre-bankruptcy debts. Exceptions exist for
                Individuals who meet the qualifications may file                     particular debts, and liens on property may
                under one of four different chapters of the                          still be enforced after discharge. For example,
                Bankruptcy Code:                                                     a creditor may have the right to foreclose a
                                                                                     home mortgage or repossess an automobile.
                        Chapter 7 — Liquidation
                                                                                     However, if the court finds that you have committed
                        Chapter 11— Reorganization                                   certain kinds of improper conduct described in the
                                                                                     Bankruptcy Code, the court may deny your
                        Chapter 12— Voluntary repayment plan                         discharge.
                                    for family farmers or
                                    fishermen                                        You should know that even if you file chapter 7 and
                                                                                     you receive a discharge, some debts are not
                        Chapter 13— Voluntary repayment plan                         discharged under the law. Therefore, you may still
                                    for individuals with regular                     be responsible to pay:
                                    income
                                                                                             most taxes;
                You should have an attorney review your                                      most student loans;
                decision to file for bankruptcy and the choice of                            most domestic support and property
                chapter.                                                                     settlement obligations;



                 Date: June 30, 2022



                /s/ Clifton Monroe Mitchell
                Clifton Monroe Mitchell



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                                                                                     your income is more than the median income for
                        most fines, penalties, forfeitures, and                      your state of residence and family size, depending
                        criminal restitution obligations; and                        on the results of the Means Test, the U.S. trustee,
                        certain debts that are not listed in your
                                                                                     bankruptcy administrator, or creditors can file a
                        bankruptcy papers.                                           motion to dismiss your case under § 707(b) of the
                You may also be required to pay debts arising                        Bankruptcy Code. If a motion is filed, the court will
                from:                                                                decide if your case should be dismissed. To avoid
                                                                                     dismissal, you may choose to proceed under
                        fraud or theft;
                                                                                     another chapter of the Bankruptcy Code.
                        fraud or defalcation while acting in breach
                        of fiduciary capacity;
                                                                                     If you are an individual filing for chapter 7
                        intentional injuries that you inflicted; and
                                                                                     bankruptcy, the trustee may sell your property to
                        death or personal injury caused by
                                                                                     pay your debts, subject to your right to exempt the
                        operating a motor vehicle, vessel, or
                                                                                     property or a portion of the proceeds from the sale
                        aircraft while intoxicated from alcohol or
                                                                                     of the property. The property, and the proceeds
                        drugs.
                                                                                     from property that your bankruptcy trustee sells or
                                                                                     liquidates that you are entitled to, is called exempt
                If your debts are primarily consumer debts, the
                                                                                     property. Exemptions may enable you to keep your
                court can dismiss your chapter 7 case if it finds that
                                                                                     home, a car, clothing, and household items or to
                you have enough income to repay creditors a
                                                                                     receive some of the proceeds if the property is
                certain amount. You must file Chapter 7 Statement
                                                                                     sold.
                of Your Current Monthly Income (Official Form
                122A–1) if you are an individual filing for
                                                                                     Exemptions are not automatic. To exempt property,
                bankruptcy under chapter 7. This form will
                                                                                     you must list it on Schedule C: The Property You
                determine your current monthly income and
                                                                                     Claim as Exempt (Official Form 106C). If you do
                compare whether your income is more than the
                                                                                     not list the property, the trustee may sell it and pay
                median income that applies in your state.
                                                                                     all of the proceeds to your creditors.

                If your income is not above the median for your
                state, you will not have to complete the other
                                                                                      Chapter 11: Reorganization
                chapter 7 form, the Chapter 7 Means Test
                Calculation (Official Form 122A–2).
                                                                                                        $1,167    filing fee
                                                                                                 +        $571    administrative fee
                If your income is above the median for your state,
                you must file a second form —theChapter 7                                               $1,738     total fee
                Means Test Calculation (Official Form 122A–2).
                The calculations on the form— sometimes called                       Chapter 11 is often used for reorganizing a
                the Means Test —deduct from your income living                       business, but is also available to individuals. The
                expenses and payments on certain debts to                            provisions of chapter 11 are too complicated to
                determine any amount available to pay unsecured                      summarize briefly.
                creditors. If




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                  Read These Important Warnings

                      Because bankruptcy can have serious long-term financial and legal consequences, including loss of
                      your property, you should hire an attorney and carefully consider all of your options before you file.
                      Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
                      and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
                      properly and protect you, your family, your home, and your possessions.

                      Although the law allows you to represent yourself in bankruptcy court, you should understand that
                      many people find it difficult to represent themselves successfully. The rules are technical, and a
                      mistake or inaction may harm you. If you file without an attorney, you are still responsible for
                      knowing and following all of the legal requirements.

                      You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
                      necessary documents.

                      Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
                      bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
                      fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
                      to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                 Chapter 12: Repayment plan for family                               Under chapter 13, you must file with the court a
                             farmers or fishermen                                    plan to repay your creditors all or part of the money
                                                                                     that you owe them, usually using your future
                                     $200    filing fee                              earnings. If the court approves your plan, the court
                                                                                     will allow you to repay your debts, as adjusted by
                            +         $78    administrative fee
                                                                                     the plan, within 3 years or 5 years, depending on
                                     $278    total fee                               your income and other factors.

                Similar to chapter 13, chapter 12 permits family                     After you make all the payments under your plan,
                farmers and fishermen to repay their debts over a                    many of your debts are discharged. The debts that
                period of time using future earnings and to                          are not discharged and that you may still be
                discharge some debts that are not paid.                              responsible to pay include:

                                                                                             domestic support obligations,
                 Chapter 13: Repayment plan for                                              most student loans,
                             individuals with regular                                        certain taxes,
                             income                                                          debts for fraud or theft,
                                                                                             debts for fraud or defalcation while acting
                                     $235    filing fee                                      in a fiduciary capacity,
                            +         $78    administrative fee                              most criminal fines and restitution
                                                                                             obligations,
                                     $313    total fee
                                                                                             certain debts that are not listed in your
                                                                                             bankruptcy papers,
                Chapter 13 is for individuals who have regular
                                                                                             certain debts for acts that caused death or
                income and would like to pay all or part of their
                                                                                             personal injury, and
                debts in installments over a period of time and to
                                                                                             certain long-term secured debts
                discharge some debts that are not paid. You are
                eligible for chapter 13 only if your debts are not
                more than certain dollar amounts set forth in 11
                U.S.C. § 109.




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                  Warning: File Your Forms on Time                                         A married couple may file a bankruptcy case
                                                                                           together—called ajoint case. If you file a joint
                                                                                           case and each spouse lists the same mailing
                  Section 521(a)(1) of the Bankruptcy Code
                                                                                           address on the bankruptcy petition, the
                  requires that you promptly file detailed
                                                                                           bankruptcy court generally will mail you and
                  information about your creditors, assets,
                                                                                           your spouse one copy of each notice, unless
                  liabilities, income, expenses and general
                                                                                           you file a statement with the court asking that
                  financial condition. The court may dismiss your
                                                                                           each spouse receive separate copies.
                  bankruptcy case if you do not file this
                  information within the deadlines set by the
                  Bankruptcy Code, the Bankruptcy Rules, and                               Understand which services you
                  the local rules of the court.                                            could receive from credit
                                                                                           counseling agencies
                  For more information about the documents and
                  their deadlines, go to:                                                  The law generally requires that you receive a
                  http://www.uscourts.gov/bkforms                                          credit counseling briefing from an approved
                  /bankruptcy_form                                                         credit counseling agency. 11 U.S.C. § 109(h).
                  s.html#procedure.                                                        If you are filing a joint case, both spouses
                                                                                           must receive the briefing. With limited
                                                                                           exceptions, you must receive it within the 180
                Bankruptcy crimes have serious
                                                                                           days before you file your bankruptcy petition.
                consequences
                                                                                           This briefing is usually conducted by
                        If you knowingly and fraudulently conceal                          telephone or on the Internet.
                        assets or make a false oath or statement
                        under penalty of perjury—either orally or                          In addition, after filing a bankruptcy case, you
                        in writing—in connection with a                                    generally must complete a financial
                        bankruptcy case, you may be fined,                                 management instructional course before you
                        imprisoned, or both.                                               can receive a discharge. If you are filing a
                        All information you supply in connection                           joint case, both spouses must complete the
                        with a bankruptcy case is subject to                               course.
                        examination by the Attorney General acting
                        through the Office of the U.S. Trustee, the                        You can obtain the list of agencies approved
                        Office of the U.S. Attorney, and other                             to provide both the briefing and the
                        offices and employees of the U.S.                                  instructional course from:
                        Department of Justice.                                             http://justice.gov/ust/eo/hapcpa
                                                                                           /ccde/cc_approved.html.
                Make sure the court has your
                mailing address                                                            In Alabama and North Carolina, go to:
                                                                                           http://www.uscourts.gov/FederalCourts
                The bankruptcy court sends notices to the mailing                          /Bankruptcy/
                address you list on Voluntary Petition for                                 BankruptcyResources/ApprovedCredit
                Individuals Filing for Bankruptcy(Official Form 101).                      AndDebtCounselors.aspx.
                To ensure that you receive information about your
                case, Bankruptcy Rule 4002 requires that you                               If you do not have access to a computer, the
                notify the court of any changes in your address.                           clerk of the bankruptcy court may be able to
                                                                                           help you obtain the list.




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                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                        WESTERN DISTRICT OF TEXAS
                                                              AUSTIN DIVISION

IN RE: Mitchell, Clifton Monroe                                                        CASE NO

                                                                                       CHAPTER 7




                                                   VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       06/30/2022             Signature                             /s/ Clifton Monroe Mitchell
                                                                       Clifton Monroe Mitchell, Debtor
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                                 Current Electric Inc
                                 500 Broadway St
                                 San Marcos, TX 78666-7749




                                 Internal Revenue Service
                                 Special Procedures Staff - Insolvency
                                 PO Box 7346
                                 Philadelphia, PA 19101-7346



                                 Internal Revenue Service
                                 Special Procedures Staff
                                 300 E. 8th Street Stop 5026 AUS
                                 Austin, TX 78701



                                 Knolle, Holcomb, Kothman &
                                 Callahan
                                 7600 N Capital of Texas Hwy Ste B110
                                 Austin, TX 78731-1136



                                 Jonathan Pauerstein
                                 755 E. Mulberry Ave 200
                                 San Antonio, TX 78212




                                 R.D. Tips Inc
                                 1700 S.E. Military Dr
                                 San Antonio, TX 78214-2813




                                 Robert Tips
                                 c/o R.D. Tips Inc
                                 1700 S.E. Military Dr
                                 San Antonio, TX 78214



                                 South Austin Medical Center
                                 PO Box 406176
                                 Atlanta, GA 30384
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                                 Texas Life Insurance Co
                                 PO Box 830
                                 Waco, TX 76703-0830




                                 Trans Pecos Electric
                                 2601 W F St
                                 Pecos, TX 79772-8200




                                 Virginia Jett
                                 20777 Cordill Ln
                                 Spicewood, TX 78669-6471
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                          IN THE UNITED STATES BANKRUPTCY COURT
                                FOR WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION
IN RE:
Clifton Monroe Mitchell
                                                               CHAPTER 7

           RULE 2016(B) DISCLOSURE OF COMPENSATION FOR ATTORNEY FOR DEBTORS

This sets out our agreement regarding this firm's representation of you in a Chapter 7 bankruptcy case involving
issues and/or debts related to a current or prior business to be filed in Austin, Texas.We generally charge a "flat fee"
for this type of representation for basic agreed upon services. This fee includes attorney and legal assistant time and
routine out of pocket expenses (long distance, copies, postage, faxes).

Total Attorney Fees: $4,622.00
Total Attorney Fees Paid: $4,622.00
Balance due : $0.00

The attorney fee for filing your case will be $4622, plus the filing fee of $338 and the debt counseling/personal financial
management class fee of $40, plus any additional amounts set out below. If you choose to do the class over the telephone rather
than online, the cost is $60.

The services included in the flat fee for a business Chapter 7 are:

Pre-filing:
     -initial client meeting
     -homework package meeting(s)
     -signing meeting
     -preparation of petition, schedules of assets and liabilities, and statement of financial affairs
     -responding to creditor calls and correspondence
Post-filing:
     -responding to creditor calls and correspondence
     -attendance at creditors meeting
     -review of security agreements and up to two reaffirmation agreements and attending hearings on the same
     -preparation of and hearings on two motions to avoid non-purchase money liens or judicial liens on homestead and hearings
     on same
     -preparation of responses to objections to exemptions


Additional fees will be charged for the following:

Pre-filing:
     -credit report ($30 individual, $50 joint)
     -excess of 30 creditors (30 - 70, add $250; 70 - 100, add $500; 100+ we will negotiate a fee)
     -more than $100,000 in unsecured debt (up to $150,000, add $250: more than $150,000, add $500; more than $250,000, we
     will negotiate a fee)
     -affidavit of special circumstances ($350)
     -non-filing spouse ($250)
      -more than four pre-filing meetings, including no shows or rescheduling with less than 48 hours notice ($200 each)
     -more than 2 two motions to avoid non-purchase money liens or judicial liens on homestead ($75 each)
     -dropping off your homework package without making an appointment to review it with an attorney ($200)

Post-filing:
     -motions to sell property ($400)

    -adding creditors after the initial filing ($75 for first creditor, $20 each additional creditor per amendment)
    -amending schedules of exempt assets for assets not listed in homework package ($150)
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     -contested motions for relief from stay ($350 for mortgages; $250 for vehicles)
     -notice for a reset creditors meeting ($75)
     -responding to motions to dismiss for failure to file documents or to attend creditors meeting ($250)
     -responding to motions to dismiss by the U.S. Trustee based on ineligibility to file Chapter 7 ($400 per hour plus expenses)
     -adversary proceedings (attorney time billed at $400.00 per hour and legal assistant time billed at $150.00 per hour; plus
     expenses)
     -discovery (attorney time billed at $400.00 per hour and legal assistant time billed at $150.00 per hour; plus expenses)

In the event that additional fees are charged, those fees will be required to be paid either pre-filing or post-filing, as designated
above, unless otherwise agreed.

Our agreement to represent you does not include filing or defending adversary proceedings. In the event an adversary
proceeding is filed against you, we will negotiate our representation and fee at that time. (An adversary would generally be a
dispute regarding the dischargeability of a particular debt.) Our agreement to represent you in a bankruptcy case also does not
constitute an agreement to initiate or defend any litigation on your behalf, whether in bankruptcy court or state court. We do not
defend state court collection lawsuits.

Due to reporting errors by creditors and credit reporting agencies, your credit report after filing may not accurately reflect the
status of your debts after your bankruptcy discharge. It is the responsibility of your individual creditors to report the status of
your debts properly. We cannot guarantee that your creditors will do so. Although we can usually help you correct these
problems, we do charge a fee for that service which is not included in the fee for the Chapter 7.

We will provide you with a copy of all of the documents which we file on your behalf in your case at the time they are filed. At
the time your discharge is entered, the Court will mail you a copy of the discharge order. These documents are very important.
They are the documents a home lender will typically require when you apply for a home loan. Once your case is closed, we send
your file to offsite storage. If you request copies of these documents after we send your file offsite, we charge a $75 fee for
retrieval of these documents. In addition, our records are destroyed after 5 years and we may not be able to retrieve copies after
that time.

By executing this agreement, you are representing to us that you will pay the agreed upon fee in the agreed upon installments.
By executing this agreement you agree that if you fail to make the agreed upon payments of fees, we may cease representation of
you immediately and that you will not oppose a motion to withdraw as your attorneys.

This agreement is not binding until it is signed by both parties and the full retainer is paid. Our offer to represent you
expires if you have not executed this engagement letter and paid at least $700 within 90 days after the date of your
consultation. If your case is not filed within 6 months of execution of this agreement, our agreement to represent you
expires and we will keep any monies received for services rendered.

The source of compensation was the Debtor(s). The source of compensation to be paid is the Debtor(s). I have not agreed to
share the above described compensation with any other person, unless this client(s) was referred to us by the Lawyer Referral
Service, in which case we have agreed to a 15% referral fee for all fees received over $400.00.

June 30, 2022

/s/ Michael Baumer, SB 01931920
Law Office of Michael Baumer
PO Box 1818
Liberty Hill, TX 78642


/S/Clifton Monroe Mitchell
Clifton Monroe Mitchell
